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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

JEREMY MACK, FILED
PLAINTIFF, : SCRANTON

v. . FER 2 0 2019

‘THE FEDERAL BUREAU OF PRISONS, THOMAS R.

KANE, JOSEPH L. NORWOOD, M. CARVAJAL, Per |

DAVID J. EBBERT, ASSOC. WARDEN T. JUSINO, CASE. NO. { DEPUTY GLERK

ASSOC, WARDEN JEFFREY BUTLER, ASSOC. :

WARDEN KAZUBA, CAPTAIN J. RHODES, DEPUTY : oe Ut: [Fol 300

CAPTAIN BRENT TAGGART, DEPUTY CAPTAIN : JURY TRIAL DEMANDED

JOHN KONKLE, 5.1.5. JOHN DOE, LT. DALLAS
BEACHEL, LT. KEMMERER, C.0. K. SHEESLEY,
€.0. J. FINCK, C.0. 8. CHAPPELL, C.Q.
SAVIDGE, €.O0. D,. SULLIVAN, C.O. @.
BEAVER, C.O. HACKENBURG, C.O. 3. MOYER,
C.0. G. SEAGRAVES, AND C.O. M. DELMONICO,
DEFENDANTS.

CIVIL COMPLAINT

JURISDICTION

1. Plaintiff brings this Action under the First, Fifth and Eighth Amendments to
the United States Constitution and under Bivens v. Six Unknown Named Agents of the

Federel Bureay of Narcotics, 403 U.S. 388 (1971).

 

 

2, This court has subject matter jurisdiction aver the federal claims presented

presented herein pursuant to 28 U.S.C. Sections 1331 and 1343.
VENUE

3. Venue is proper in this District pursuant to 28 U.S.C. Sec. 1391 (b),
because a substantial part af the acts or omissions that gave rise to Plaintiffs'

claims occurred in Union County Pennsylvania, in the Middle District of Pennsylvania ,

PARTIES

 

 
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4&. Plaintiff, Jeremy Mack, was at all times relevant to this Action a prisoner
incarcerated at USP Lewisburg in the SMU, a federal prison operated by the Bureau of
Prisons ("BOP"), located in Union County, Pennsylvania,

5. Defendant BOP is a federal law enforcement agency subdivision of the United

States Department of Justice ("DOJ"), and is responsible for the administration of
ederal prisons, including USP Lewisburg. The BOP is charged with establishing
ploicies and regulations that are safe, humane, and secure for all federal
penitentiaries and other prison facilities.

6. Defendant Thomas R. Kane was at all times relevant to this action the Acting
Director of the Bureau of Prisons, Mr. Kane is being sued in his official Capacity.

7. Defendant Joseph L. Norwood was at all times relevant to this action the
Regional Director of the Northeast Region for the BOP, which includes USP Lewisburg.
Mr. Norwood is being sued in his official capacity.

8. Defendant M. Cavajal is the Regional Director of the Northeast Region for
the BOP, which includes USP Lewisburg. Mr. Carvajal is being sued in his official
capacity.

9. Defendant David 3. Ebbert is the Warden of USP Lewisburg. Mr. Ebbert is
being sued in his individual and official capacities,

10. Defendant T. Jusino at all times relevant to this action an Associate
Warden at USP Lewisburg. Ms, Jusino is being sued in her individual and official
capacities.

11. Defendant Jeffrey Butler was at times relevant to this action an Associate
Warden at USP Lewisburg. Mr. Butler is being sued in his individual and official
capacities.

12, Defendant Kazuba was at times relevant to this action an Associate Warden
at USP Lewisburg. Mr. Kazuba is being sued in his individual and official capacities

13, Defendant 3. Rhodes was at times relevant to this action a Captain at USP
Lewisburg. Mr, Rhodes is being sued in his individual and official capacities,

14. Defendants Brent Taggart and John Konkle was at times relevant to this -::
action Deputy Captains at USP Lewisburg. Mr. Taggart and Mr. Konkle are both being
sued in their individual and official capacities.

15. Defendant S.I1.S. John Doe was at all times relevant to this action a
Special Invetsigation Services ("SIS") officer at USP Lewisburg, who was responsible
for for overseeing the monitoring of inmates mail at USP Lewisburg. Mr. Doe is being
sued in his individual and offical capacities.

16. Defendants Dallas Beachel and Kemmerer was at all times relevant to this

action Lieutenants ("Lt.s") at USP Lewisburg. Mr. Beachel and Mr. Kemmerer are both
being sued in their individusl and official capacities.

 

 
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17. Defendants K. Sheesley, J. Finck, B. Chappell, Savidge, D. Sullivan, B.

 

Beaver, Hackenburg, J, Moyer, G. Seagraves, and M. Delminico was at all times
relevant to this action Correctional Officers ("C.O.s") at USP Lewisburg. Mr.
Sheesley, Mr. Finck, Mr. Chappell, Mr. Savidge, Mr. Sullivan, Mr. Beaver, Mr.
Hackenburg, Mr. Moyer, Mr.Seagraves, and Mr, Delmonico are al being sued in their

individual and official capacities.
FACTS

Mr. Macks! Commitment to the Custody of the BOP

and Designation to the BOP's Special Management Unit

18. In the matters of The United States of America v. Mack et al, Case No. 1:13
~cr-00278-SL-1, on February 18,2014 Mr. Mack was found guilty by a jury trial on all
nine counts of a superseding Indictment, for which he was charged with &-counts af
sex-Trafficking, 1-count of conspiracy to Sex-Trafficking, 2-counts of distrtidution
of a controlled substance, and 2-counts of Obtruction of Justice.

19. Of the 4-counts of Sex-Trafficking, for which Mr. Mack was convicted, one
count involved a minor who was 16 years old. However, the minor lied to Mr. Mack -

i about her age and presented herself to everyone at his house like she was an adult.
(Trial Trans., Doc. 197,3291) |

20. On June 12,2074 Mr. Mack was sentenced to the custody of the BOP for life
without the possibility of parole, as a “Sex-Offender."

21. The BOP took custody of Mr. Mack and transferred him to the United States
Penitentiary Tucson ("USP Tucson"), in Tucson, Arizona, on June 27,2014.

22. At that time USP Tucson was the only high security Sex-Offender ("SO")
prison within the BOP.

23. Gn November 11,2014 Mr. Mack's cell was searched by staff and a homemade
weapon was found. Mr. Mack admitted to possessing the weapon for his safety. He
Teceived an incident report and was placed in USP Tucson's Special Housing Unit
("SHU"), pending disposition of the weapons charge.

24. On March 3,2015 Mr. Mack received a copy of "NOTICE TO INMATE: Hearing
Referral for Designation to a Special Management Unit," in relation to the November
11, 2014 weapon's charge,

25. Mr. Mack's Hearing of Referral for Designation to a Special Management Unit
commenced on March 12, 2015, and was held via telephone-conference. The Hearing

Administrator concluded that Mr. Mack had met the Criteria for SMU Designation.
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General Background and Operation of The

USP Lewisburg Special Mangement Unit

26. The BOP created the SMU Prorgam to house men determined to have unique security
and management concerns. Conditions of confinement for men in the SMU are more
restrictive than for those in a General Population environment in a high security
Penitentiary,

27. The BOP established the SMU Program on November 19, 2008, when it published
Program Statement 5217.01. In 2009 the BOP transformed USP Lewisburg from a reguler

Penitentiary to a SMU. ON August 9,2016, as a result of recommendations made in the

 

Department's January 2016 Restrictive Housing Report, the BOP Published a new SMU
Policy, Program Statement 5712.2, which rescinded Program Statement 5712.01.
28. According to BOP Policies, the SMU is a multi-level program whose mission
is to teach self-discipline, pro-social values, and the ability to coexist with
members of other cultural, geographical, and religous backgrounds. SMU designation
is supposedto be non-punitive. The BOP can send any individual to the SMU that it
has determined requires “greater management" and meets certain other criteria
specified by the BOP, specifically, any sentenced prisoner whose interactions with
others requires greater management than for those in a general population
environment may be designated to an SMU.to ensure the safety, security, or orderly
operation of BOP facilities, or the protection of the public, if the prisoner meets
any of the following criteria:
a. The prisoner participated in or had a leadership role in disruptive
geographical group-or gang-related activity;
b. The prisoner committed any "100-level" prohibited act, according to 24
C.F.R. pt. 541, after being classified as a memeber of a "Disruptive
Group" pursuant to 28 C.F.R. pt. 524;
c. The prisoner has a history of serious or disruptive disciplinary
infractions;
d. The prisoner participated in, organized, or facilitated any group
misconduct that adversely affected the orderly operation of a
correctional facility; and/or
e. The prisoner participated in or was associated with activity such that
i greater management of the inmate's interactions with other persons is
t necessary to ensure the safety, security, or orderly operation of BOP

facilities or protection of the public,

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29. The SMU program has different levels that the men process through until,
idealy, they graduate from the program and can be moved to a géneral population or
placed in another facility.

30. In the SMU's original formulation, ther were four levels and men were
expected to take 18-24 to complete the full program. With the August 9, 2016 Program
Statement 5712.02, the BOP shortened the length of the SMU program from four levels
to three and. specified 3 12-month timeframefor completion.

31. Each of the levels also has an expected timeframe for completion: under
Program Statement 5712.02, this is 6-8 months for Level 1, 2-3 months for Level 2,
and 1-2 months for Level 3. However, men can remain at any given level for
significantly longer than the expected completion time if’ the BOP finds that they
are not ready to progress to the next level.

32. Additionally, men who receive disciplinary violations can be sent back to
Level 1 where they must begin the program over again, Under Program Statement
9712.02, men can be cycled through the prorgam for up to 24 months before being
‘designated as "SMU FAIL" status.

33. Under Program Statement 5712.01 there was no outer limit on the length of
time men could remain in the SMU. As a result, some men housed in: the SMU had been
there since the program's inception.

34. The three levels also afford the men different privileges. For the vast
majority of the men in the SMU, their conditions of confinement are extremely
restrictive. Men at Levels 1 and 2 remain in their cells for 23 hours a day.
Although the men are supposed to receive some access to telephones, telephone
privileges have been rescinded for many of the men due to alleged disciplinary
violations,

35. At each of the levels, the men must meet different milestones for
progression. An individual's pregression through Level 1 is based upon his
compliance with behavioral expectations. Progression through Level 2 is based on
the individual demonstrating potential for: positive "community" interaction skills.
Individuals who targetted hy staff with harassment or inmates for retaliation find
it very challenging, if not impossible, to meet these milestones, and find
themselves being cycled through the SMU program multiple times and frequently ending
as "SMU Fail."

36. Men in the SMU are allowed anly a maximum of 5 hours of recreation per week
and frequently get less or none. The recreation time is spent in adjoined cages that

are approximately eight feet by twenty feet. Sometimes men are alone in the cage for
recreationand other times there are as many as six individuals in one cage.
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Individuals can not choose whom they are placed in the cage with . Many individuals
choose not to go aut of their cells to recreation cages due to their fear of being
attacked by a hostile inmate or being assaulted by staff while handcuffed behind
their back, and thus remain in their cells 24 hours a day.

37. Men are placed together in cells throughout their time in the SHU,
Tegardiess of the men's self-professed inability to get along with others or history
of violence.

38. These conditions place inmates with a history of violence and gang
membership in close quarters for every hour of everyday, leading to an obvious and
pervasive threat of violence. .

39. It is the responsibility of the BOP, the Northeast Regional Office of the
BOP, and all officials and correctional officers at USP Lewisburg to ensure that
this threat of violence does not become a reality.

40. Because of this known potential for inmate an inmate violence, upon
entering the SMU Program at USP Lewusburg, inmates participate in an intake
interview with USP Lewisburg officials, often referred to as a "quay" hearing.

41. One of the purposes of this interview is to gather information about the
men so that prison officials can make safe and appropriate placement decisions for
the men and avoid placing hostile inmates together.

42. At this intake interview, security information in the men's BOP file is
reviewed and inmates disclose their separation needs and known enemies.

43, Folling the intake interview, the new men are given a cell block assignment
and recreation cage schedule. These placement decisions are determined in part by
the cell assignment committee (The Committee), with assistance from the correctional
officers on each cell block.

44. Upon information and belief, at all times relevant to this action the
Committee included Defendants Ebbert, Jusino, Butler, Kazuba, Rhodes, Taggart, and
Konkle.

45, Defendants Jusinc, Butler, and Kazuba are specifically.tasked by the BOP's
SMU Program Statement with inmate placement decisions: "The Associate Warden is
Tesponsible for determining which inmates may be housed or Participate in activities
together, as necessary to protect the safety, security, and good order of the
institution," See U.S Dept. of Justice, Pragram Statement: Special Management Units
Section 6,

. 46. In making decisions on inmate placement, the Committee is required to

consider inmate safety. Therefore, the Committee is required to account for an
inmate's particular need to be separated from other individuals or groups inside the

Prison who are hostile towards him.

 
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47. Some categories of inmates who are known to be hostile to one another are
Tival gang members and inmates who are known to be assaultive to other cellmates. A
“hostile” -inmate may also be someone who has had a particular conflict with the
proposed cellmate or his associates. |

48. Information discussed at the quay hearing, as well as information about
separation needs, is shared with staff so that staff can Carry out their duties,

49. After the quay hearing, men continue to inform corrections staff of new
enemies or geographic groups or gangs that they believe pose a substantial risk of
material harm to them,

50. A small percentage of men in the SMU have verified protection needs and are
unable to live in housing units amongst the general population because of the
influence, harassment, intimidation, and threats of violence from members of gangs
and "cars" (prison based geographical groups/gangs in the BOP),

51. Inmates may be classified as Protected Custody ("PC") status in matters
related to the following circumstances:

* The inmate was a victim of an assault, or was being threatened by
other inmates,

* The inmate's safety is threatened because of providing, or being
perceived as having provided, information to staff or law enforcement
authorities regarding other inmates or people in the community.

* The inmate refuses to enter general population because of alleged
Pressures ar threats from unidentified inmates, or for no expressed
reason,

* The inmate is a "drop-out" (x gang member).

* The nature of the inmate's criminal offense, particularly sex-offenders

* Based on evidence, staff believe that the inmate's safety may be
seriously jeopardized by placement in general population,

52. Due ta the wide spread presence of the gang factions and extensive
Presence of Security Threat Group ("STG") members, especially in the SMU, the
difficulties on the management of the gang problem exacerhate the Protective Custody
Problem. See Audit, conducted by Center of Naval Analysis. CNA, Federal Bureau of
Prisons: Special Housing Review and Assessment (December 2014) ,218.

33. USP Lewisburg have developed a specialized Protective Custody housing unit
to manage SMU inmates who have verified protection needs. At all times relevant to
this action X-block (otherwise known as Z-block) has been the SMU's designated

Protective Custody Housing Unit.
54. There are many 0.0. at the SMU wha constantly harass and threaten inmates

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inmates who are sex-offenders, These C,.0.'s usually make it known to other inmates
on the ceil-block which inmates are sex-offenders as an effort to purposely
jeopardize these inmates safety and well-being. And, often times, certain
correctional staff force sex-offenders to cell with hostile inmates to intentionally

cause them to suffer physical and psychological harm. Cont ipwlts Secephh meal hes:

55. Many courts and numerous sociclogical and Criminal Justice studies have
concluded that "the Sex Offender label severely stigmatizes an individual" and that
"sex offenders are considered 'an anathema in the inmate subculture..." and "inmate
norms call for their savage beating.'" Renchenski v. Williams, 622 F.3d 315, 326-27
(3d Cir. 2010)

56. Inmate "prison politics" dictates that an inmate who receives a cellmate
who is a "SO" must "smash" (violently assault) the "SO" or he will get "smashed"
when he goes back to general population or gets another cellmate, if he does not
"smash" the "SO."

57. Defendants are aware, by virtue of their experience and training and
history of violent attacks in the SMU, that placing hostile inmates in a cell or
recreation cage together creates a sustantial risk that the inmats will engage in
Violent conduct that can lead to injury or death.

58. Dispite this knowledge, Defendants maintain a practice of intentionally
bringing bringing hostile inmates to other inmate's cells as proposed cellmates.

59, Men are rotated to new cells every 21-days. During this ratation, men
sometimes receive new cellmates. Men also receive new cellmate assignments if their
cellmate leaves the SMU "program" or by some ather method.

60. Thus, the possibility ir requlerly renewed that all men in th SMU will be
Placed with a hostile cellmate who poses a substantial risk of harm to men.

61. Double-cell solitary ia a common practice in federal prisons, where more
than 80 percent of the men in restrictive housing have a cellmate. But USP Lewisburg
presents an added danger of housing some of the Bureau's most volatile prisoners.

62. Many men have suffered violent physical harm at the hands of other inmates ~
in cell and/or recreation cages.

63. Although mant assaults and fights between cellmates in the SMU go
unrepoted, according to Federal Incident Report Records obtained by the Marshall

Project and National Public Radio (NPR), as of 2016 there had been more than 800
recorded inmate-on-inmate assaults since the SMU opened - a rate six times higher
than all federal prisons. And within that time period atleast four men have been

killed by their cellmates. See Christie Thompson & Joseph Shapiro, Inside Lewisburg
Prison: A Choice Between a Violent Cellmate or Shackles, NPR News Investigation and
the Marshall Project (October 26, 20164)

 

 
 

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64. Administrative oversight of SMU programs at USP Lewisburg is managed by a
Warden and there are Associate Wardens assigned to manage correctional services or
custody operations, as well as Associate tlardens responsible for programming.
Correctional services is responsible for most of the conditions of confinement an
inmate is subjected to, as well as ensuring discipline and order is maintained in
the Units. The SMU custody and security is overseen by the facility Captain, and at
times by a Deputy Captain.

65, There are anumber of Lieutenants assigned to manage the daily operations
of the facility, and are tasked with the responsibility of ensuring that all aspects
of Policy and Procedure are compliedwith. These Policies and Procedures include
Program Statements, Federal Regulatios, Procedures, and Post Orders.

66. Each shift has an Operations Lieutenant that operates as the shift
Commander, and an East and West Lieutenant who manage security operations in a
sector of the facility. D and G Units has Lieutenants assigned to those Units on day
shift. The East Lieutenant is responsible for B, C, and X Units. The West Lieutenant
is responsible for —E, F , J, and I Units.

67, Correctional Officers ("C€.0.'s") provide correctional services, security,
and supervision to the inmates in the SMU. C.0.'s are assigned to a post inside the
Housing Units supervising the inmate population on various ranges. The C.0.'s
functions and responsibilities consist of maintaining records of inmate activity,
conducting periotic wellness checks and rounds, supervising inmate movement,
conducting cell moves, and other security-related duties.

68. Unit Management personnel (otherwise known as the “Unit Team"), perform a
prominent role in the SMU programs, Unit Managers, Case Managers, and Counselors
provide services to the inmate population that includes classification, casework,
disciplinary, and programming. Unit Team mémbers work cooperatively: with: correctional

services staff. Particularly, as it relates to celling arrangments of inmates in
their Housing Unit.

69. Correctional Officers and Lieutenants report in a parallel chain of command
to the facility Captain and/or Deputy Captain. The Captain and/or Deputy Captain
reports directly to the Assiciate Warden of Custody Operations, while the Unit
Managers report directly to the Associate Warden of Programs.

70, Men frequently inform corrections staff that a placement assignment is
inappropriate because the prospective cellmate is hostile to the inmate and poses a
substantail risk of material harm to the inmate,

71. These warnings are either ignored by the corrections staff or are directly
acknowledged but not acted upon. It is thus a pattern, practice, or policy of

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corrections staff to force men to accept placement that poses a substantial risk of
material harm to the men, and to reserve reassignment until after inmate-on-inmate
violence actually takes place.

72, Upon information and belief, Defendants are invived in the cell and
recration cage assignment practices and policies, know the risk of harm posed by
these practices, and fail to make any changes to these policies and practices at USP

Lewisburg to abate the risk of harm.
Punitive Use Of Restraints

73. To enforce the pattern ar policy of placing hostile inmates together, the
. Defendants engage in a pattern, practice or policy of punishing inmates who resist
dangerous placements by placing them in punitive restraints.

74. These restraints include "Four Point Restraints" (Four-Pointing) and/or
"Ambulatory Restraints" along with a "Black Box."

75. “Ambulatory Restraints" are defined by BOP policy as “soft and hard
restraint equipment which allow the inmate to eat, drink, and take care of basic
human needs without staff intervention." U.S. Dept. of Justice, Program Statement
3566.06 CN.-1, Use af Force and Application of Retsraints (hereinafter P.S. 5566.06.

76. At USP Lewisburg, however, "Ambulatary Restraints" are hard restraints and
are applied in a manner as to cause severe pain and to prevent the inmate from
eating, drinking, toileting, or sleeping.

77. A "Black Box" is another type of restraint. It is a handcuff device, made
of a hard plastic material, which attaches to the handcuffs and covers the key hole
to prevent inmates from picking the locksof the cuffs. The Black Box is placed aver
the key-holes of the handcuffs and the chain-link apparatus that runs between the
inmate's handcuffs, fusing the left amd right handcuff together to make them more
restrictive than traditional handcuffs.

78. The Black Box totally restricts all wrist movement. When the Black Box is
pulied against the stomach and affixed to the waist-chain the inmate's wrist remains
forcibly bent outward in an awkward position that causes pain, This posture causes
the handcuffs to cut into the wrist whenever inmates attempt to move their arms,

79. The Black Box was designed, primarily, to ensure safe transport. However,
such adevice can cause serious injury if used incorrectly.

80. Four-Point Restarints, otherwise known as "Four-Pointing," involve plaicing

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an inmate on a bed frame. The inmate's hands are retsrained separately overhead,
attached by metal shackles to aither the bed frame or the wall behind the bed, while
the inmate's limbs are stretched aut, and his ability to move is completely
restricted.

81. "Hard Retsraints" consist af metal handcuffs, metal shackles, and a metal
chain that encircles the body. The metal chain is put around the inmate's waist, and
locked onto the inmate by alarge pad-lock that is possitioned at the center of the
inmate's lower-back area. The handcuffs, along with the "Black Box" device, are
attached to the chain. The handcuffs with the Black Box prevent the inmate from
moving his wrist. In addition, the inmate cannot move his hands up or down becuase
the handcuffs are attached to the chain. The shackles severely limit an inmate's
ability to walk. the possition of the pad-lock prevents inmates from being able to
lie flat upon their back, or sleep.

B2. Staff at USP Lewisburg do not hesitate to place inmates in restraints as a
means to impose ill-will, and for the very purpose of causing inmates pain and
suffering. This is particularly so when it comes to inmates who stands to oppose
staffs' abuse of authority, for any purpose,

83. According to policy, restraints are only to be used to control an inmate
who is a danger to gevernment property, himself, and/or others, and never as
punishment.

64. However, staff are required to exersize "confrontation Avoidance"
procedures prior to executing any calculated use of force. Pursuant to policy, "The
ranking custodial officer (ordinarily the Captain or shift Lieutenant), a designated
mental health professional, and others shall confer and gather pertinent information
about the inmate and the immediate situation. Based on their assessment of that
information, they shall identify a staff member(s) to attempt to obtain that
inmate's voluntary cooperation and, using that knowledge they have gained about the
inmate and the incident, determine if Use of Force is necessary." P.S. 5566.06, at 7

85. "An Employee may not use brutality, physical violence, or intimidation
towards inmates, or use any force beyond that which is reasonably necessary to
subdue an inmate." P.S, 5566.06, at 1; 28 C.F.R. 552.23

86. Under BOP Policy, Force, including the Application of Restraints, can be
used "only as a last alternative after all other reasonable efforts to resolve a
situation have failed." Id.

687. Staff must use "only the amount of force necessary to gain control of the

inmate, to protect and ensure the safety of inmates, staff and others, to prevent
serious property damage, and to ensure institution security and good order." Id,

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68. 8OP Policy forbids the use of force or restraints to punish inmates and dictates
that restraints should only be used “when other effective means to contral have
failed or are impractical." Id. at 6-7

‘89. Restraints may not be used “in a manner that causes unnecessary physical
pain or extreme discomfort." P.S. 5566.06, at 6; 28 C.F.R. 552.22 (g)(3)

90. At USP Lewisburg Officials regulerly put in restraints inmates who resist
accepting a placement with-a hostile inmate.

91. Restraints are applied and maintained in an excessively tight manner,
Causing severe pain, numbness, swollen wrists and fingers, open wounds, breathing
prablems, and possible nerve damage.

92. The inmate remains restrained for as long as USP Lewisburg Officials choose
without any meaningful aversight or process.

93. In addition to Causing extreme pain, numbness, and breathing problems,
being in hard restraints impacts every aspect of daily life.

94. To eat, an inmate must use the bottom bunk in the cell as a table.

95. Because an inmate in restraints cannot move his hands independently from
eachother or away from his body, eating can only be attempted by leaning the whole
torso (with hands protruding in front) towards the food tray on the bottom bunk to
grab the food, followed by an attempt to get the food into the mouth by stretching
the hands upward,

96. Eating causes a great deal of pain because the restraints cut into the
inmate's skin, when stretching the hands upwards in attempt to get the food into the
mouth,

97. Drinking water from a cup is nearly, if not completely, impossible in
restraints, due to the configuration of hands attached to eachother and bound to the
waist. —

98. Getting water from the metal push-button sinks is similarly difficult and
results in being sprayed with water. In the winter time, when the cells are cold
because the windows are often intentionally kept open by staff, trying to get water
from the sink can have lasting chilling effects.

99. Inmates are unable to maintain their hygiene while in hard restraints.

100. Inmates in restraints are supposed to be offered a bathroom break, which
inmates to use a painful process to try move aside their clothing and use the toilet
while still in hard restraints.

101. Because of the tight handcuffs and the arrangement of the hands in front

of the body, attached to the chain that locks tightly around the waist, it is
incrdibly painful to the hands and wrists to try to use the toilet. As a result of
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this awkward and painful process, the floor of the cell becomes covered in urine and
feces,

102. While inmates are in the cells, the cella are not cleaned and there are no
Cleaning supplies made available to them.

103. The mattresses are pften plattered with urine and feces due to the inmates
inability to toilet while in restraints.

104, The mattresses often have Oleoresin Capsicum ("OC") spray or residue from
other chemical weapons on their surface from the manner in which they are handled by
officers,

105. Under these conditions, inmates are frequently deprived of sleep.

106. Defendants are aware of the conditions in the restraints rooms, described
above,

107. Defendants order or authorize inmates! placement in these conditions, in
hard restraints, as part of their program to enforce hostile cell assignments.

108. Inmates have no process by which to challenge the imposition of prolonged
and painful periods in restraints, This punishment exists wholly outside of the 80P
disciplinary system.

109. As of the date of this complaint, Plaintiff Mack has been
unconstitutionally restrained twice in this manner in lation to celling arrangements
which Defendants knew presented a risk of substantial harm to Plaintiff's safety,

and well-being,

The June 18, 2015 to June 19,2015 Restraint Placement

110. For approximately 24-hours, from June 18, 2015 to June 19, 2015,
Defendants kept Plaintiff Mack in hard restraints, which included the use of the
"Black Box," in unsanitary and inhumane conditions, as described above, in order to
punish him for refusing to accept a dangerous cell assignment.

111. Mr. Mack arrived at USP Lewisburg June 9, 2015 to participate im the SMU
Program,

112. When he arrived Unit Team staff conducted a formal intake interview with
him in R&D (Receiving and Discharge), at which time he was asked "is there any
reason you cannot go to 'GP (general population).'" In response,Mr. Mack informed
them that he needed to be placed in Protective Custody becuase of his sex-affender
status; the fact that his case involves a minor and that his case is accessable to

the inmate population via the prison Law Library on LEXISNEXIS; and because of
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having been sent to the SMU from USP Tucson (a known "SO" prison), based on the fact
that inmate "prison politics" of the carucasion prison gangs, as well as the "White
Independents," in the United States Penitentiaries ("USP's"} calls for any white
inmates who have come from USP Tucson's population to be "smashed," which is common
knowledge to inmates and staff alike throughout the HOP.

113. Apart from these discussions, the Unit Team staff were in=possession af
Mr. Mack's case-file, and reviewed his file during their intake interview.

114, The Unit Team staff assigned Mr. Mack to cell 216, on C-Hlock, which was
unoccupied,

115. C-Hlock was not a designated housing Unit for "PC" inmates.

116. Celi 216 is the very last cell on the left-hand side of the range, located
at the end of the range right next to a doorway that led to an area of which, upon
information and belief, was the assigned post of the Use of Force Team Members.

117. Within the first few days of Mr. Mack's arrival to the SMU, without any
provecation, the Use of Force Team Members began stopping at Mr. Mack's cell door,
while going to and from their post, Looking into his cell at him through his cell
door window and saying "there's that 'Cho-Mo (child molester}'" loudly on the open
range.

118. Mr. Mack ignored them, hoping that they would stop, but it just got worst

by the day. The Use of Force Team Members began coming to his cell door several
times a day calling him "Cho-Mo" gut loud on the cpen-range for all inmates to hear.

119. The Use of Force Team Members having labeled Mr. Mack a child molester
amongst the inmate population provoked inmates to begin sending Mr. Mack death-
threats, and would attempt to bait him into going out to the recreation cages so
that they could attack him. Because of this, Mr. Mack refused to go to recreation

and showers the entire time that he was housed on C-Block.

1209. The number of C.0.'s who participated in coming to Mr. Mack's cell
together and joining in this misconduct, so openly and freely in such a way, really
made Mr. Mack fear for his safety and believe that staff would force him to cell-up
with an hastile inmate who they believe would harm him because of his "SO" status,

121, Unsure of what staff he could reach out to for help, amd highly skeptical
of what staff to trust, Mr. Mack stopped the prison Chaplain, Mr. B. Carney, during
his routine rounds and whispered to him through his cell door to “please help” him,
and that his "life was in danger" but that he "could not discuss it on the open
range." Chaplain Carney wrote down Mr, Mack's name and number and left.

122, On or about the following day that M.r Mack stopped Chaplain Carney and

asked him for help he was pulled aut of his celi, escorted to a holding cage in an
office area of C-Unit where a staff member, who identified himself as "SIS," came
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to speak with him. He informed Mr. Mack that the Chaplain had contacted him and
asked Mr, Mack what his problem was, Mr. then informed him of the serious concerns
related to his safety, just as he had with the Unit Team at his intake-intervieu,
and further desrcibed what all the Use of Force Team Members had been subjecting him
to every since his assignment to C-Block - how they had intentionally labeled him a
child molester amongst the inmate population and had provoked inmates to harass and
threaten him. He proceeded to ask SIS to place him on PC status, and SIS said that
he would look into it.

123. On or about the weekend of Mr. Mack's arrival to the SMU he was reassigned
ta cell 217 on C-Block, during his range's routine 21-day cell rotation. Cell 217 is
the last cell on the right-hand side of the range, located across from cell 216.

124. On or about June 15, 2015, a Lt,., along with about five C.0.'s in tandem,
arrived at Mr. Mack's cell door. Two of the C.0.'s stood at both sides of an inmate,
Timothy Chapek BOP Reg. No. 74720-065, whom they had physically restrained. Mr. -
Chapek stood there barefooted, in restraints and paper cloths, The Lt. opened Mr,
Mack's foot slot and ordered him to "cuff-up." Mr. Mack was cuffed-up and ordered to
stand at the back of his cell, at which time they opened the cell door and placed
Mr. Chapek into the cell with Mr. Mack.

125, The first thing that Mr. Mack observed about Mr. Chapek was the wounds
around his wrists and ankles, which were caused by being placed in excessively tight
restraints. Mr. Chapek informed Mr. Mack that he had been placed in restraints for
two days after he was assaulted by his cellmate and then refused to go into the cell
with an inmate who staff attempted to force him to live with.

126. On or about the morning of June 18, 2015, Mr. Mack was taken to his
"Quay" review. A couple of Unit Staff were present at his "Quay" review along with
Special Investigative Agent "SIA" Heath. Mr. Mack informed them all of his concerns
for his safety, just as he had with the Unit Team staff at his intake interview and
the SIS staff member who he had met with. The Unit Team staff seemed to ignore Mr,
Mack's safety concerns while SIA Heath responded by calling Mr. Mack a "piece of
shit" and toid him that he is “in for a rude awakening here at Lewisburg." A few
minutes later Pschologist Eigenbrode entered the room and spoke with Mr. Mack. He
then expressed those same safety concerns with Dr. Eigenbrode.

127. SIA Heath was in charge of Special Investigative Services (SIS). SIS staff
plays a central role in the classification of inmates to Protective Custody status,
and in assisting facility supervisors in the management of the inmate population.

SI5 has to approve cell assignments of most inmates on PC status.
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128. On June 18,2015, at around 10:00 A.M., ar several members of the Use of
Force Team walked down the range past Mr. Mack's cell, one of them, C.0. Kemmerer,
announced loudly aon the range, so that all inmates on the range would hear, "there's
the 'Cho-Mo' in cell 217..,come here lil-boy i've got a pocket full of candy." This
caused Mr. Mack's cellmate to ask him "what was that all about?" and to further
question him about what C.0. Kemmerer had said. It also caused other inmates on the
range to yell threats at Mr. Mack and call him a"Cho-Ma,"

129. This left Mr. Mack in complete fear for his safety. And he had to quickly
ensure his cellmate that he was going to force staff to move him in order to prevent
his cellmate from possbly attacking him,

130. Shortly thereafter, when the rang officer came around collecting inmate's
lunch trays Mr. mack notified the officer that there was an emergency and he needed
to see a Lt., and that he was going to hold his food trays until he was able to see
a Lt..

131. Approximately thirty minutes later a Lt., who was carrying a backpack and
@ rapid-fire pepper-ball gun, arrived at Mr, Mack's cell door and demanded that he
give-up the food trays. Mr. Mack explained the sitution and asked to be moved off
of the range. The Lt.told Mr. Mack theat he would not be moved and that he was going
in restraints for holding his food trays. He then walked away and went into the area

af the Use of Force Team's post.

13@. About 5-10 minutes later, officer Kemmerer came to Mr. Mack's cell door,
from the Use of Force Members post, and began, boldly, telling Mr. Mack that he was
a ‘cho-mo! and that he had "the paperwork back there" (and pointed towards the Use
of Force Members post), infront of his cellmate and ail of ‘the inmates on the reange

133. Sometime around 12:00 A.M. about six Use of Force Team Members, presumably
officer Kemmererand the same officers who had labeled Mr. Mack a child molester and
had been harassing him since being housed on C-Biock, arrived at Mr. Mack's cell all
dressed in full riot gear. They were led by a Lt., who carried the above described
gun, and had a camera-man in toll, the Lt, who commanded the Team ordered Mr, Mack
to "submit to hand restraints," to which he coplied. *.

134. Mr Mack was then taken out of his cell without incident and escorted down
the range by the Use of Force Team. He was escorted forcibly hunched over at a 90°
angle with his head held waist-high, face down, and forced to walk backwards.

135. While being escorted off of the range, one of the Use of Force Team
Members, who had hold of Mr. Mack's head, tried to provoke Mr. Mack to "resist" by
shaving his "OC" (oleoresin capsium) spray. laced gloved fingers into Mr. Mack's

eyes,gouging his eyes and causing them to burn Teally badly.
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136. At the end of the range, as commanded by the Lt., The Use of Force Team
stripped Mr, Mack's clothes off of him, scanned his nude body with a hand-held metal
detector, and placed him in paper cloths and hard "ambulatory" restraints - steel
handcuffs, "Black Box," waist chain, and leg irons, The restraints were placed on
Mr. Mack excessively tight.

137. While being placed in paper cloths and restraints, the Use of Force Team
Members who had hold of Mr. Mack's hands behind his back made further attempts to
provoke Mr. Mack to "resist" by bending his wrists so far upwards that he feared
they were trying to break his wrists. And although this caused Mr. Mack to endure
excruciating pain, he feared what the Use of Force Team would do to him if he were
to jerk or react in the slightest way. .

138. Do to the fact that the staff member who operates the hand-held video
camera during the Use of Force and Applicationof Restaraints incident always tails
the Use of Force Team Members (usually six members) and Lieutenant(s), and the
inmate is always possitioned at the very front of the pack, bent over and surrounded
by Use of Farce Team Members who are suited-up in padded body gear and maintain a
tight formation around the inmate, the inmate remains shielded from the view of the
video camera by the Use of Force Team Members and Lt.'s during escort and much of
the Use of Force and Application of Restraints process. This allows the Use of Force
Team Members.to assault and abuse inmates out of view of the video camera, within
their very oun shaddows. >

139. The Use of Force Team escorted Mr. Mack to D-Block, where he was left in
restraints and locked within cell 101, in the cell conditions described above.

140, The cell was without any running water in the sink,

141. Under BOP Policy, staff must regulerly check on the placement of an
inmate's restraints. The Lt. is also supposed to determine whether the inmate should
remain in restraints or whether he should be released.

142. The inmate's health is also suppase to be checked during a "restraint
check." At USP Lewisburg, however, medical and custody staff routinely ignore
inmate's complaints of pain and other medical problems caused by tight restraints.

143. Every time checks were conducted Mr. Mack told each Lt. present that the
restraints were too tight and causing him severe pain. He would plead with them to
loosen the restraints,

144, All of these staff routinely denied these requests, causing Mr. Mack to
remain in extremely painful restraints.

145, The Lt.'s had the authority to release Mr. Mack from restraints. they were
aware of his complaints of pain and were aware that he was not threatening harm or

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taking any othe r actions that would justify restraints.
146, Despite this knowledge, the Lt.'s refused to release Mr. Mack from
restraints and ignored his pleas for help.

147. During the restraints "restraint checks," Mr. Mack also told medical staff
that the restraints were too tight and that he needed medical attention, However, a
Lt. is required to be present during the medical checks, and the medical staff
deferred to the Lt.'s to determine whether the inmate needed medical attention and
whether the restraints were too tight.

148. Instead of responding to the complaints of pain caused by the restraints,
when Mr. Mack asked medical staff for medical attention, treatment, and relief,
medical staff just ignored Mr. Mack,

149. Medical staff also falsely recorded these interactions in Mr. Mack's
medical records,

150. At some point during the restraint period, the tightness of the restraints
cutt off Mr. Mack's circulation to his hands.

151. As aresult of the unnecessary tight restraints, Mr. Mack suffered intense
pain, swelling, pressure sores, abrasions, cuts, numbness, and other injuries.

152. Mr. Mack was in hard “ambulatory" restyraints for approximately 24 hours.

153. While in restraints Mr. Mack was unable to eat or drink anything, use the
toilet, or sleep th entire time,

154, Defendants kept Mr. Mack in restraints in conditions amounting to torture,
as described above, from June 18,2015, to June 19,2015.

155. As was the case with Mr. Mack, many other inmates were put into restraints
for refusing hostile celling arrangements.

156. Defendants applied hard "ambulatory" restraints to Mr. Mack for no
legitimate reason, causing extreme pain and injuries, as described above.

157. Just before Mr. Mack was released from restraints, on June 19, 2015, a
Unit Team Member and a Lt, entered the cell with Mr, Mack to conduct a (UDC) hearing
for the incident report he received in relation to being placed in restraints, The
Team Member who conducted the hearing informed Mr. Mack that he had been charged
with offense code 203, for threatening staff. Whwn Mr, Mack responded that hedid not
threaten anyone, the Lt. who was present laughed and told Mr. Mack that whenever
someone gets placed in restraints that they get a "203" too.

158. There were no surveillance camera in the restraint cell which Mr. Mack was
Placed in, There were no surveillance camera which recorded the view of the inside

of the restraint cell Mr. Mack was placed in. And at no time did any staff member
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videotape any of the “restraint checks," or when staff members entered into the cell
with Mr. Mack while he was in restraints.

159. Mr. Chapek has provided Mr, Mack with a Declaration, signed under the
penalty of perjury, verifying Mr. Mack's account of what had led up to his placement

in restraints.

The G-Block Terror Squad

160. The Defendants have adopted a pattern, practice or policy of having
"problematic" inmates - inmates who file complaints or speak aut against staffs'
abuse of inmates and constitutional misconduct, inmates who staff believes needs to
be more closely "monitored," and inmates who receive incident reports-assigned ta
G-Block housing unit to be subjected to ongoing daily harassment, intimidation, and.
threats by G-Block Officers, and the threat of being assaulted by G-Block Officers.

161. USP Lewisburg was established in 1932. Many staff who are currently
employed at USP Lewisburg have relatives and family members who are employed by
their side today at USP Lewisburg, and/or have relatives and family members who had
been employed With USP Lewisburg for several generations.

162. Staff's family ties, long-lasting for many, to USP Lewisburg and solid
friendships developed with other staff members over the course of years of working
side-by-side with their "us against them (staff against inmates)" mentality has
cultivated a "Brotherhood" bond between staff who maintains a strict code of silence
with respect to inmate abuse and staff misconduct,

163. USP Lewisburg's Warden, Defendant Ebbert, has deep roots to that
"Brotherhood" himself, having been employed at USP Lewisburg, as a guard, over
16-years ago. .

164. Because of this, USP Lewisburg prison officials and officers have been
able to terrorize and abuse inmates at will with impunity, and have become infamous
aver the years for incidents of rampant abuse and vindictive harassment. Such
incidents have been part of a widespread, culture of corruption at USP Lewisburg.

165. USP Lewisburg afficers and officials have been able to foster and then
conceal this corrupt culture by abusing inmates off camera, by, upon information and
belief, failing to preserve cell-block surveillance camera videotape footage for any
longer than about 10-days, by deliberately fabricating records, by maintaining a
code of Silence to stymie investigations into inmate abuse and staff misconduct, and

by the Prison Administration's indifference.
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166. The Administration at USP Lewisburg enables, if not encourages, its
Corrections Officers to engage with impunity in calculated challenges to inmates’
Constitutional protections. .

167. Corrections Officers routinely uses unconstitutional brutality, threats,
and harassment against inmates at USP Lewisburg to create an atmosphere of fear for
inmates,

166. USP Lewisburg lacks the sufficient amount of video surveillance cameras
throughout the prison that is needed to be able to fully monitor staffs!
interactions with inmates.

169, There are many areas within the housing units, and throughout the prison,
where there are no video surveillance cameras, these areas are knoun as
"blind-spots!"

170. Whenever inmates are escorted anywhere in the prison they are forced to
Walk through various "blind-spots" along their path. And while conscious of where
there are no video cameras, C.0.'s at USP Lewisburg are well aware of where their
"blind-spots" are located.

172. In general population of other USP's and high security prisons throughout
the United States "blind-spots" throughout prisons are a serious safety concern to
prison Administration Officials because prisoners are known to seek out and use
"blind-spots" as an area to stage an attack on others. The wide-spread recognition
af this serious safety concern has compelled prison Administration Officials
throughout the United States to up-grade their video surveillance systems and
install surveillance cameras in all "blind-spots" in their prisons.

173. Correction Officers at USP Lewisburg have engaged in a pattern of taking
inmates to "blind-spots" in the prison and abusing them for many years now to spread
fear and terror throughout the inmate population, And, in many cases, falsely
charging those inmates for assault on staff or of "resisting," after they are
beaten, to cover-up their aSsaults or to justify their injuries to inmates.

174. All inmates in the SMU are transported in restaraints whenever they leave
their cells, USP Lewisburg requires that inmates be handcuffed from behind, with
palms out and thumbs up, throught the food slot before the cell door is opened to
remove the inmate. The handcuffsare double Locked, to prevent the inmate from
tampering withthe handcuffs. Inmates are also scanned with a hand-held metal
detector and pat searched prior to any movement taking place.

175. The inmate may be transported by a single officer, In cases which dictates

the need for more supervision of inmates movement, additional precautions can be
taken. These include the following:

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* Two Man Hold: The two-man hold is one method utilized by the BOP. The
two-man hold requires that two staff be present the entire time the
inmate is out of his cell or secure area. This requires one staff member
will remain in direct physical contact with the inmate at all times and
both staff members are directly responsible for the control of the
inmate.

* Three-Man Hold: In a three-man hold situation, two stff members remain
in direct physical contact with the inmate at all times, and all three

vf.  gtaff.are directly responsible for the.control of the inmate.

* Lieutenant Hold: The Lieutenant hold technique calls for a Lt. to be
present the entire time the inmate is out of the cell and the Lt. is
required to provide supervisory oversight during the inmate movement.

76. Given the fact that inmates are always handcuffed behind their backs and =.
subdued by staff anytime that they are out of their cells, inmates are defenseless
to attack and must depend on staff to protect them,

177. Corrections Officers at USP Lewisburg are also engaged in a pattern of
assaulting and torturing inmates who are placed in restraints, within the restraint
cells where there are no video surveillance cameras. |

178. Upon information and belief, cell-block videotape footage, fram the
Housing Unit's video surveillance cameras, at USP Lewisburg, is anly preserved for
about 10-days. Which makes it nearly impossible for inmates to proceed to go about
having the prison Administration to preserve cell-block videotape footage of: inmate
abuse and Constitutional misconduct for future judicial review,

179, Many G-Block inmates never come out of their cells to go to the shower or
recreation because of their fear of what G-Block officers will do to them.

180. Under these circumstances USP Lewisburg Officials and Officers have
cultivated and continue to foster a corrupt culture of staff who brutalizes and
terrorizes inmates with impunity, and forces the inmate population to live in an

atmosphere of fear.
Mr. Mack Is Reassigned To G-Block Housing Unit

181. Despite Mr. Mack's Protective Custody status and need of being housed
separately from general population inmates in the SMU, on February 15, 2017,
correctional staff moved him off of the "PC" Block, X-Block, and reassigned him to

G-Block Housing Unit,as a result of an incident report he received.
162. On February t6, 2017, shortly after 10:00 A.M., G-Block Officers Sheesley,

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Finck, Chappell, and Savidge arrived to Mr. Mack's cell door and ordered him to
“cuff-up" for a cell "shake-down."

183. Approximately 30-45 minutes later C.0. Finck came back to the shower area
to escort Mr. Mack back to his cell. Officer Finck escorted him out of the shower
area and into the gated sally-port area, which connects to the entrance of his
range, where Officers Sheesley and Chappell both stood posted-up aon both sides of
the walk-way near the entrance to his range. As Officer Finck escorted Mr. Mack
between Officers Sheesley and Chappell, without any provocation, Officers Sheesley
and Chappell both lunged at Mr. Mack simultaneously and began to violently attack
him. As though acting on cue, Officer Finck immediately threw Mr. Mack to the floor
and all three Officers kicked and punched Mr, Mack in the face, head, and all over
his body as he layed there handcuffed behind his back, defenseless.

184. Mr. Mack screamed loudly as he was gratuitously beaten. And the Officers
kept yelling at him, "shut-up 'cho-mo,'" as they pummelled him,

185. After being brutally for about two minutes, or so, the Officers stood Mr.
Mack up and whisked him onto the Tange and into his cell.

186. The €.0.'s committed this assault in one of the prison's "blind-spots." An
area of which G-Block C.0.'s are known to assault inmates,

187, Several inmates, who were housed in cells next to the range's entrance by
where Mr. Mack was assaulted, had witnessed the assault. while many other inmates on
his range heard Mr, Mack's screams and the pummeling of him and the C.0O.'s calling
him a "cho-mo."

168. The C.0.'s tore up Mr. Mack's entire cell, leaving his legal work all
mixed up and scattered everywhere, as well as his personal property. Important legal
work was confiscated and thrown away, including his criminal appeal and exhibits, a
file folder labeled "LEGAL WORK, Lewisburg Restraints," Grievances, and ect. The
C.0.'s ripped pages out of his law books. Personal property, including postage
stamps and family photos were taken, Other family photos were left upon Mr. Mack's
bed ripped up.

189, The C.0.'s wrote "cho-moa" on Mr, Mack's cell wall, They also wrote "HOW
MUCH" with an arrow pointing at a little boy in a USA TODAY newspaper article, which

Mr. Mack had saved because the article is about him hometown of Lorain, Ohio,

190. As Officer Finck secured Mr. Mack in his cell Mr. Mack told him that he
needed to see a Lt. and someone from medical. Officer Finck told Mr. Mack that he
Would not be seeing anyone.

191. Because Mr, Mack feared that G-Block Officers would continue to assault

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him at will if he was prevented from reporting the assault and getting it properly
documented so that it could be fully investigated, he covered up his cell door
window with paper until a Lt. would come to his cell so that he could report the
assault.

192. The G-Block Officers, on the shift which the assault occurred, refused to
draw attention to Mr, Mack's cell, and thus, went about the remainder of their shift
ignoring his window being covered up. Shortly after their shift changed Officer
Lamont dispated the Lt. to Mr. Mack's cell.

193, At around 3:00 P.M. Lt.'s Scott and Casper, and Officers Lamont and
Chadderton arrived to Mr. Mack's cell door. At which time he uncovered his cell door
window and reported the assault to them.

194. Lt, Scott asked Mr. Mack why he had his window covered. In response, Mr.
Mack showed the Lt.'s his injuries from the assault and said that he needed to
Teport that he was assaulted by staff and to see medical staff.

195. Lt. Scott told Mr. Mack to "cuff-up" and that he would have medical staff
conduct a medical assessment of his injuries. Mr. Mack cuffed-up and was escorted to
an up-stairs holding cage.

196. When Mr. Mack was secured in the holding cage Lt. Scott asked him which
C.0.'s assaulted him, where the assault occurred, and when did it occur. Mr. Mack
told the Lt. that he did not know the C.0.'s names who assaulted him, but that they
were the €.0.'s who had pulled him out of his cell for a "shake-down," and that they
jumped on him and assaulted him outside of the shower area inside the gated sally-
port area when being escorted from the shower area back to his cell after their
10:00 A.M. cell "shake-doun,"

197. The Lt.'s left and then returned back to the holding cage about five
minutes later with Nurse Matthew Fahringer and a digital camera. Lt. Casper tcook
several pictures of Mr. Mack's injuries to his face, head, and body, as Nurse
Fahringer scanned his upper-body and wrote notes of his visable injuries.

198. In attempt to notify the Warden, Defendant Ebbert, of the assault, as soon
as possible, Mr. Mack wrote a letter to the Warden explaining how he was assaulted,
and a letter to Paralegal David Sprout at Lewisburg Prison Project requesting that
Mr. Sprout fax Warden Ebbert Mr. Mack's letter to the Warden on his behalf, But
because of the problems that Mr, Mack had been having with Staff throwing away his
mail since being in the SMU, he asked inmate Kenneth Johnson, BOP Reg. No. 44665-007
who had witnessed the assault, if he would mail out Mr. Mack's letters to Mr. Sprout

and Warden Ebbert to Lewisburg Prison Project as "Legal Mail" for him.
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199. Mr. Johnson volunteered to do so and Mr. Mack gave him those , above
described letters along with:a stampted envelope already addressed to "Attorney
Angus Love, Lewisburg Prison Project, P.O. Box 128, Lewisburg PA. 17837" with the
front of the envelope properly marked as "LEGAL MAIL," to mail out those letters.

200. Mr. Mack instructed Mr. Johnson to be sure to seal-up the envelope in the
presence of the C.0. he gives it ta, so that they would not be able to read the
letters. Later that evening Mr. Johnson informed Mr. Mack that he had sealed-up
those letters in the presence of the range Officer and submitted it to him to mail

201. Mr. Mack had, in fact, witness Mr. Johnsan seal-up and submit those
letters to C.0. Chadderton, and the C.0. place his initials on the envelope, which
is the practice of staff who collect legal mail that is sealed by the inmate in
their presence,

202. At around 7:40 P.M, Mr. Mack submitted a sealed envelope, with SIS written
big on the envelope, with an Inmate Request to SIS enclosed, to £.0. Chadderton, Mr.
Mack sent SIS this Inmate Request to inform SIS of the assault and to request that
the matter be referred to the BOP's Bureau of Internal Affairs, pursuant to policy

and the Code of Federal Regulations, to ensure an outside investigation,

203, From the day af the assault on Mr, Mack all the way up until he was
finally moved back to X-Block, about four moths later, &-Block Officers Sheesley,
Finck, Chappell, Sullivan, Beaver, Moyer, and others, coliectively, terrorized Mr.
Mack and forced him to live in a constant state of fear by subjecting him to ongoing
daily threats and harassment. Among other things, these officers would come to Mr.
Mack's cell door everyday calling him a "cho-mo" loudly on the open range and
threaten to kill him and tell him he needs to kill himself "like Johnson, except do
it right...."

Mr. Kenneth Johnson had attempted to commit suicide by hanging himself
because of Officer Sheesiey and other G-Block Officers constant harassment and
Tetaliation against him in relation to attempting to send Mr. Mack's legal letters
to Paralegal David Sprout at LPP.

204. Officer Sheesley told Mr. Mack that he'de be lucky to make it out of
Lewisburg alive and that he will learn the hard way that filing paperwork won't get
him anywhere and only makes it worst on him. He also threatened to shove a broom
stick up hiss "ass" into his guts, and to break his neck, and said that he would
probably receive a promotion for doing so.

Mr. Mack was known to staff as a Jailhouse Lawyer who helps inmates file

grievances and with other legal issues,
205. Officer Sullivan would repeatedly threaten to "accidently" place an inmate
into the cell with Mr. Mack “who would love to kill a 'cho-mo,'" on a reguler basis,

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and torment him with vivid descriptions of how he would be raped, tortured, and
killed by who they place into the cell with him,

206. Mr. Mack had heard many of the horror stories related to G-Block Officers
infamous reputation of beating and terrorizing G-Block inmates for many years. These

Officers campaign of terror against Mr, Mack inflicked severe psychological torture
which made everyday for him extremely difficult to cope. And he had to struggle with
suicidal feelings and thoughts which made him feel that he'de be better off killing
himself than to have to continue to deal with G-Block Officers campaign of terror.
Mr. Mack struggled with suicidal feelings and thoughts nearly daily while housed in
G-Block.

207, On February 17,2017, at around 12:45 A.M., Mr. Mack stopped Captain RHodes
at his cell door, as the Captain made his routine rounds on his range, at which time
he informed the Captain that he had been assaulted by three €.0.'s the previous day
and pointed behind the Captain at C.0. Chappell, who was one of the officers that
was standing behind him escorting him through G-Block, and told the Captain, "thats
one of the C.0.'s who assaulted me right ther." The Captain refused to turn around
to acknowledge who the officer was that Mr, Mack alleged to of assaulted him. And as
he proceeded to show the Captain his two black-eyes, that he had woke up with , as
well as the other bruises all over his body, the Captain looked him up and down and
said "I don't see anything," and walked off.

208. The Captain's refusal to acknowledge his Officer's assault on Mr. Mack, as
well as his total lack of concern for his safety induced great fear within Mr. Mack.

209. In fear that his safety and life was in danger, and desperate to obtain
help from the Prison Administration, Mr. Mack submitted an "EMERGENCY REQUEST" to
Chaplain Leininger on February 17, 2017, at around 4:00 P.M., during the Chaplain's
routine rounds on his range, which described the assault, ongoing harassment and
threats ta him by G-Block Officers, requesting that the Chaplain e-mail his
"EMERGENCY REQUEST" to Associate Warden Jusino.

210. On February 18, 2017, at around 11:30 A.M., Mr. Mack observed Officers
Sheesley, Finck, Chappell, Beaver, and Moyer - The G-Block Terror Squad - go to
inmate Johnson's cell door, which was located directly across the range from his
cell, They ordered Mr. Johnson and his cellmate, Stacy Butler, BOP Reg. No. 05373-
017, to cuff-up for a cell “shake-down." They were both cuffed-up, extracted from
their cell, and escorted off of the range without incident.

211. Mr. Mack watched as the C.O.'s tore their cell up and left with a large

see-through garbage bag full, with what appeared to be a lot of paperwork and
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personal property that was taken from Mr. Johnson and Mr. Qutler's cell.

212. Once they were placed back in their cell one of the C.0.'s yelled out
loudly for all inmates to hear, “Attention on the range, cell 305 likes to hang out
with and da legal work for 'cho-mos.'"

Mr.Johnson and Mr. Butler's cell number was "305."

213. Shortly after they returned to their cell, Mr. Butler and Mr. Johnson
informed Mr. Mack that they were told by the C.0.'s that they were targetted because
SIS had got the Legal Mail that Mr. Johnson submitted to staff as "LEGAL MAIL" to be
mailed to LPP on Mr. Mack's behalf.

214, Mr. Sprout did, in fact, confirm to Mr. Mack that LPP had never received
the above described letters which Mr. Johnson submitted to staff as "LEGAL MAIL" to
be mailed to LPP on Mr. Mack's behalf.

215. On February 2t, 2017, a memorandum, signed by Defendants Ebbert, Kazuba,
and Rhodes was posted next to Mr. Mack's cell door requiring: (1) A Lieutenant to be
present whenever Mr. Mack is escorted outside his cell; (2) two Officers to
accompany a Lt. during escort; and (3) Mr, Mack to be double-cuffed - for two pairs
of handcuffs to be placed on Mr. Mack's wrists when removed from his cell.

216. On February 22, 2017, Mr. Mack was given a hearing by the Disciplinary
Hearing Officer (DHO) for the incident report he was issued for having covered his
cell door window, on 2/16/17, after he was assaulted by G-Block C.0.'s. When the DHO
asked him why he covered his window he stated that he was assaulted by staff and
needed to see the Lt. and medical. However, DHO, A. Jordan, failed/refused to
document Mr. Mack's allegation of having been assauled "by staff," and only
documented the part of his statement about needing to see medical.

217, Mr. Mack's sole intention for appearing at his DHD hearing (many inmates
decline to appear for their DHO hearing when asked by staff if they "want to go to
DHO") wasn't to dispute whether or not he was guilty of covering his window, but
instaed was a calculated effort made to place on record his allegation of being
assaulted by staff in order to trigger DHO's duty to report his allegation of being
assaulted by staff to the prison's Administration. And it would be naive to believe
that DHO wouldn't have conducted its "fact finding" inquiry with respect for the
reason why Mr. Mack covered his window, or that Mr. Mack would not have reported to
the DHD that he was assaulted by staff.

218. Among the sanctions imposed by DHO, Mr. Mack was sanctioned to loss of
mattress for ane manth.

219. Inmates who are sanctioned to loss of mattress are pulled out of their
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cell every morning at around 7:00 A.M. by cell block Officers, who then goes into
the inmate's cell and takes the mattress. The mattresses are then returned to the
inmates at around 10:00 P.M..

220. In many cases G-Block Officers take advantage of this DHO sanction by
using it as an oppertunity to pull inmates, who are the targets of harassment by
G-Block Officers, out of their cell first thing every morning to go into their cell
and tear their cells up, and to throw away the inmate's personal property, while the
inmate is forced to stand right there and except it.

221. As in the case of Mr. Mack, several G-Block Officers would arrive to his
cell early every morning, including Defendants Sheesley, Finck, Chappell, Sullivan,
Beaver, Moyer, and Hackenburg, squeeze two pairs of handcuffs around both of his
wrists as tight as they could squeeze them to cause pain and attempt to provoke any
sort of reaction which would allow them to pounce upan him and harm him, then
proceed to back him out of his cell onto the range where he would have to stand
there restrained by by an Officer or two who stands there assaulting Mr. Mack with a
non-stop stream of venomous slurs and threats while two or three other C.0.'s go
into his cell throw away his personal property and trash his cell in front of him
before exiting with his mattress. All of the above named G-Block Officers
Participated in this constitutional misconduct.

222, These G-Glock Officers routinely misconducted themselves freely in this
manner in the presence of Lt.'s Beachel and Kemmerer, who had both ignored Mr.
Mack's complaints of these Officers vindictive misconduct.

223. In an attempt to stop the C.0.'s from comingto his ceil every morning to
"get his mattress" Mr. Mack toid the evening shift senior Officer to keep his
mattress and that he didn't want a mattress anymore, The Officer informed him that
inmates were no longer permitted to refuse their mattress and that they write
incident reports for everyday that an inmate refuses his mattress. Mr. Mack
understood then that the G-Block C.0.'s would stop at nothing to continue to do what
they were doing.

224, On February 25, 2017, Mr. Mack received a visit from his volunteer visitor
Carol, with Prisoner Visitation Services (PVS) Organization. During his visit he
explained to her how the G-Block C.0.'s assaulted him and how he was in fear for his
life and begged her to contact Mr. Sprout at LPP and inform him of what happened and
that staff was intercepting his mail so he was unable to get a letter to him, and to
tell Mr. Sprout to come visit him as soon as possible, Carol was very disturbed by

what Mr. Mack revealed ta her as well as other similar things which she had been
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hearing about staff's abuse of inmates st USP Lewisburg. She told Mr. Mack that she
would contact her coordinator at PVS and see what she could do. About two weeks
later Mr. Mack received s post card from Carol informing him that she would no
longer be a visitor at USP Lewisburg.

225. Upon returning back to his cell,in the escort of Lt. Kemmerer, Mr. Mack
discovered his cell torn-up and completely trashed. When Mr. Mack complained to Lt.
Kemmerer sbout what the G-Block Officers had done to his cell and personal the Lt.
responded by stating "welcome to G-Block."

226. Mr. Mack's personal property, including his legal work, was thrown all
over his cell. His bottles of fragrance oil, which he purchased from commissary,
were pored all over his legal work and mail from his family. His wash cloth and
drinking cup was thrown into his toilet, All of his writing were confiscated, as
well as more of his legal work, which included his "Records Of Correspondance," and
"EMERGENCY INMATE REQUEST" to Dr. Enigk of pschology describing staff's assault on
Mr. Mack and the symptoms of his mental suffering.

227. Mr. Johnson and Mr, Butler informed Mr. Mack that they witnessed all of ©
the G-Block Officers go into his cell, tear his cell up and take his property while
he was on his visit with Carol.

228. Mr. Mack asked Officer Sheesley to please give him back all of his legal
work that was taken out of his cell and why they keep harassing him when he doesn't
never say anything to them or bother them at all. Officer Sheesley responded by
telling Mr. Mack that he doesn't "have nothing coming" and that "its just begun
‘cho-mo' we've got a grave for you out back."

229, The G-Block Officers who were on shift during Mr. Mack's visit were
Sheestey, Chappell, Fick, Beaver, Sullivan, and Moyer.

230. On February 26, 2017, G-Block Officers conducted their routine tri-weekly
cell-rotation of inmates on Mr. Mack's range.

231. The cell block's “number one" officer usually coordinates and oversees the
cell-rotation of inmates on their cell block,

232. During cell-rotation Officer Sullivan, G-Block's "number one" officer,
skipped Mr. Mack out of rotation from cell 323 to cell 326, the first cell aon the
range.

233. Mr. Mack was told by other inmates that cell 326 was out of view of the
range's surveillance camera,

234. On February 26, 2017, Mr. Mack sealed-up two separate Legal Letters in

envelopes, which were properly marked as "LEGAL MAIL" and had the appropriate
postage, in the presence of his evening shift range officer and submitted them to

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him to be mailed. One of those letters was addressed to: Regional Director,
Northeast Regional Office, Federal Bureau of Prisons, U.S. Customs House - Seventh
Fioor, Second and Chestnut Streets, Philadelphia, PA. 19106, in which he sent the
Regional Director an "EMERGENCY GRIEVANCE" informing the Regional Director of the
G-Block Officers assault on him and their ongoing threats and harassment, seeking
the Regional Director's help. Mr. Mack's other letter was addressed to: Attorney
Angus Love, Lewisburg Prison Project, P.O. Box 128, Lewisburg, PA. 17837, in which
he sent Mr. Spout a letter captioned "URGENT" informing Mr. Sprout about the G-Block
Officers assault on him and their ongoing threats and harassment, seeking LPP's help

235. Mr. Mack has since confirmed, through Mr. Sprout, that LPP had never
received the above mentioned letter from Mr. Mack.

236. And while the Regional Office always provides inmates with a receipt of
their Emergency/Sensitive Grievances, Mr. Mack never received any receipt or
response to his “EMERGENCY GRIEVANCE" - Legal Mail - from the Regional Director.

236. Early in the morning on February 27, 2017, Officer Sullivan arrived to Mr,
Mack's cell to "take his mattress." When he placed his hands out of his door's food
slot to submit to hand-restraints Officer Sullivan squeezed two pairs of handcuffs
as tight as he could into Mr. Mack's wrists and told him "you know your off camera
now (referring to how the area of Mr. Mack's cell, where they moved him out of
cell-rotation to, was out of veiw of the range's surveillance camera), if we can
find a way to kill you we will." Officer Sullivan proceeded to pull Mr. Mack out of
his cell, where on the open-range he repeatedly called Mr. Mack "cho-Mo" in front of
the inmates on the range. Mr. Mack told Officer Sullivan that they were going to
have to answer to the courts. Officer Sullivan amiled at him and said,"we're the
Government, we,ve got the best Lawyers." Mr. Mack was placed back in his cell after

the other G-Block Officers tore his cell up and took his mattress on the way out.
237. Gn February 27, 2017, at arouwnd 12:30 A.M., as Captain Rhodes conducted

his routine rounds on Mr, Mack's range, Mr. Mack slid the Captain an envelope which
contained a letter to the Captain describing haw the G-Block Officers, who assauled
him andothers G-Slock Officers, had been threatening and harassing him daily since
the assault on February 16, 2017.

238. About twenty minutes later Officer Sullivan (whom Mr. Mack had complained
about in his letter to the Captain) and an Officer who kept a spiked "“mo-hawk" hair
cut (believed to be Officer Hackenburg) arrived to Mr. Mack's cell door with the
envelope and letter which Mr. Mack had just given to the Captain. Officer Sullivan

held the letterup to Mr. Mack's cell door window and ripped it up in his face and
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said, "see, the Captain don't like ‘cho-mos' either," and proceeded to both lodge a
barrage of slurs and threats at Mr. Mack.

239, On February 28, 2017, at around 9:00 A.M., Mr. Mack was finally able to
submit his Informal Resolution Attempt/Grievance to G-Block Counselor Diltz,
describing how he was assaulted by staff in a “blind-spot" and how G-Block Officers,
including the Officers who assaulted who assaulted him, was subjecting him ta
Ongoing daily harassment and threats. Mr. Mack also complained about how Officer
Sullivan had told Mr. Mack that he is “off camera now, if we can find a way to kill
you we will," after being moved into cell 326.

240. On March 2, 2017, Deputy Captain Konkle responded to Mr. Mack's Informal
Resolution Attempt, informing Mr. Mack that "an invetsigation into [his] allegations
is being conducted."

241. Desperate for help in this matter, Mr. Mack decided to contact the Office
of the Inspector General (DIG) and notify them as to how the G-Slock Officrs were
routinely beating and terrorizing inmates at USP Lewisburg.

242, So, on March 9, 2017, Mr. Mack submitted a "LEGAL LETTER," addressed to
LPP, to G-Block case manager, Klosner, the "LEGAL LETTER" included a letter to Mr.
Sprout, and a Complaint addressed to the GIG along with an attached 6-page
Declaration made by Mr. Mack. In his letter to Mr. Sprout he requested that Mr.
Sprout send his Complaint and 6-page Declaration to the OIG on his behalf.

243. Mr Mack received a response back from Mr. Sprout informing him that he had
sent Mr, Mack's letter and Declaration to the OIG, and also sent Mr. Mack a cony of
a letter which he had written to the OIG and sent it along with Mr. Mack's letter
‘and Declaration.

244. From March 9th through March 10th, 2017, two maintenance staff installed a
Video surveillance camera in the gated sally-port area, "blind-spot," where Mr. Mack
was assaulted an February 16, 2017, by G-Block Officers. They also replaced the one,
and only, surveillance camera on Mr. Mack's range with a different type of model,
wide-lens, video surveillance camera. Mr. Mack watched the maintenance staff plug
the newly installed range's video surveillance camera into a portable laptop device
to adjust the camera's view af the range when they mounted the camera into possition
to, upon information and belief, bring Mr. Mack's cell, cell 326, within view of the
camera,

245. Mr. Mack proceeded to file an Administrative Remedy Request (formal

Grievance) to the Warden informing him that Mr, Mack had been asssulted by G-Block

Officers:.and that he-was being subjected ta ongoing daily harassment and threats by
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G-Block Officers. Among other things, Mr. Mack requested that the Warden refer the
matter for an Independant Investigation, install video surveillance cameras in all
"blind-spots" of the prison, "including isolation cells which are used for inmates
who are placed'in restraints," and for all G-Hlock videotape footage, for the entire
day of February 16, 2917, to be fully preserved for judicial review.

246. On Mach 21, 2017, Defendant Ebbert responded to Mr. Mack's Administrative
Remedy Request, informing Mr. Mack that his “allegations were referred to the proper
authority and an investigation into [his] allegations is being conducted."

247, As the G-Slock Officers continued their ongoing daily harassment, threats
of violence, tormenting, and terrorizing of Mr. Mack he asked Mr. Sprout if he would
contact the Warden on his behalf and ask the Warden to move him off of G-Block away
from the G-Block Officers who assaulted him and are terrorizing him,

248. On April 3, 2017, Mr. Sprout mailed a letter to the Warden, Defendant
Ebbert, on behalf of Mr, Mack, informing him that Mr, Mack "has received constant
harassment, retaliation and unprofessional treatment from some staff members who
work on G-Block" including the Officers who "assaulted him on February 16th"
requesting he be moved off G-Block and "away from the staff members who assaulted
a

249, Despite Mr. Mack's attemots to have orison affcials rein in G-Block
Officers! campaign of terrorzand: psychological torment. waged: agsinst:him, -Offcicers
Sheesley, Finck, Chappell, Sullivan, Beaver, Moyer and others, continued to harass
and threaten him on a daily basis the entire time which he was housed on G-Block.

250. On May 25, 2017, Mr. Mack was finally reassigned and moved back to X-Block
housing unit, in accordance with his Protective Custody status.

251. When Mr. Mack was moved off of G-Block, on May 25, 2017, he was
immediatelytaken off of the Lt. Hold, Two Man Escort, and Double Cuff status, of
which he was placed on following G-Block Officer's assault on him.

252. During the remainder of Mr. Mack's stay in the SMU Officers Moyer and
Chappell were both reassigned to his range on X-Alock for two days a week, as their
work post, where they both continued to subject Mr. Mack to further on-going
harassment and threats of violence.

253. C.0. Chappell told Mr, Mack that no matter where Removed: that<they could
get to him anywhere in the prison at anytime.

254. C.0. Moyer threatened to call Sheesley over to X-Block to "nay [Mr. Mack ]
a visit,"

255. Mr. Mack was never able ta eat his lunch tray the entire time that he was
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housed on G-Block, and on the days that Officers Chappell and Moyer worked his range
on X-Block, because G-Block Officers threatened to kill him and would serve him his
lunch trays accompanied with taunts that they had contaminated his food. And on many
accasions Officers Sheesiey, Sullivan, and Beaver had served him lunch trays which
they had defiled with spit splattered on his food and, at times, a liquid substance
poured over his food which reeked, strongly, of cleaning chemicals and urine.

256. Mr. Mack knows of other inmates on G-Block who complained about G-Block
Officers tampering with their food, as harassment, as well.

257. G-Block Officers' harassment and threats of voilence prevented Mr. Mack
from ever going to the shower, recreation, or the law library the entire time that
he was housed in G-Block,

258. And while Mr. Mack was housed on G-Block there were many other inmates on
G-Block who did not ever leave their cells to go to the shower or recreation because
af their fear of being assaulted by G-Hlock Officers in one of their "blind-spots"
“or that the officers would "accidently" place/force them into a recreation cage with
hostile inmates who would likely violently attack them.

259. G-Block Officer's psychological torment and terror of Mr. Mack caused him
to suffer a great deal of emotional distress and psychological harm.

260. Mr. Mack pleaded with and complained, both verbaliy and in writing, to SMU
Officials, including Defendants Kane, Norwood, Carvajal, Ebbert, Jusino, Sutler,
Kazuba, Rhodes, Taggart, Konkle, Beachel, and Kemmerer that G-Block Officers had
physically assaulted him, and was subjecting him to angoing daily harassment and
threats of violence, |

261. Defendants Norwood, Carvajal, Ebbert, Jusino, Butler, Kazuba, Rhodes,
Taggart, Konkle, Beachel, and Kemmerer had the authority to have Mr. Mack reassigned
to another housing unit, away from the G-Block Officers who assaulted him and
continued to harass and threaten him with violence, or to take other reasonable
actions to abate G-Slock Officer's continued harassment and threats of violence
towards Mr. Mack.

262. Despite this knowledge, Defendants Norwood, Carvajal, Ebbert, Jusino,
Butler, Kazuba, Rhodes, Taggart, Konkle, Beachel, and Kemmerer refused to have Mr.
Mack reassigned to another housing unit, and failed to act reasonably in response.

263. Defendants Norwood, Carvajal, Ebbert, Jusino, Butler, Kazuba, Rhodes,
Taggart, Konkle, Beachel, and Kemmerer kept Mr. Mack in G-Block housing unit for
over 3 months after being physically assaulted by G-Block Officers in the cruel and

inhumane conditions of confinement described above, knowing that it was sure or very
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likely to cause substantial risk of serious harm, unreasonable threat of injury, and
needless suffering to Mr. Mack,

264. Defendants Carvajal and Norwood knew of Mr. Mack's conditions of
‘confinement at USP Lewisburg, as described above, and approved of USP Lewisburg
Officials' refusal to reassign Mr. Mack to another housing unit,and failure to take
other reasonable measures, .

265. Defendants Sheesley, Finck, Chapoell, Sullivan, Beaver, Savage, and Moyer
lacked penological and/or security justification to treat Plaintiff in the manner as
described above during his entire confinement in G-Block housing unit,

267. Defendants Sheesley, Finck, Chappell, Sullivan, Beaver, Savage, and Moyer
acted wantonly, miliciously, and willfully.

268. As a direct and proximate result of said acts of Defendants, Plaintiff

Mack suffered, and continues to suffer, the following injuries and damages:

a.Violation of his rights under the First, Fifth, and
Fighth Amendment to the United states Constitution;

b.Violation of his rights under the Federal Tort Claims Act;

c. physical injuries;

d. mental injuries;

€, emotional distress;

f. pain and suffering

. CAUSES OF ACTION
Count I

Plaintiff Jeremy Mack vs. Defendants The:BOP, Kane, Norwood,

Eobert, Butler, Kazuba and Jusino

Tort of Negligent Failure to Protect, Under the Federal
Tort Claims Act

269. Plaintiff incorporates by reference the allegations in the preceding var
paragraphs of this complaint.
270. Defendants BOP, Kane, Norwood, Ebbert, Butler, Xazuba, and Jusino are

responsiole for the training, supervision, and control

of i
thr prison Sards at

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UsP Lewisburg.

271. Defendants BOP, Kane,Norwood, Ebbert, Butler, Kazuba and Jusino owed
Plaintiff a duty of reasonable care to protect from assaults by staff, under
the Law of Pennsylvania and 18 U.S.C. Section 4042.

272. Defendants BOP, Kane, Norwood, Ebbert, Butler, Kazuba,and Jusino breached
that duty by failing to provide protection when Plaintiff was viciously assaulted
without need or prevocation by Defendants Sheesley, Chappell, Finck, and Savidge 4s
en February 16, 2017.

273. The breach of duty resulted in serious physical and emotional injury and
pain.

274. The breach of duty proximately caused those damages.

275. Plaintiff's right to be free from assault and battery under the law of
Pennsylvania and 18 U.5.C. Section 4042 was clearly established as of February 16,
2017.

276. Defendants, acting under the color of Federal Law, deprived Plaintiff of
his right to be free from assault and battery under the law of Pennsylvania and 18
U.S.C. Section 4042,

277. Defendants BOP, Kane, Norwood, Ebbert, Butler, Kazuba and Jusino 20 wacce
committed the Tort of Negligence against Plaintiff by their acts or omissions, as
described above,

278. Due to the Defendants' acts and omissions, Plaintiff suffered serious

physical and emotional injury and pain, and is therefore entitled to relief.

Count II

Plaintiff Jeremy Mack vs. Defendants Sheesley,

Chappell, Finck and Savidge

Eighth Amendment Violation, pursuant to BIVENS ve
SIX UNKNOWN NAMED AGENTS OF THE FEDERAL BUREAU OF NARCOTICS,
403 U.S. 388 (1971), for the Defendant's attack on Plaintiff on Fepruary 16, 2017

279. Plaintiff incorporates by reference the allegations in the preceding
paragraphs of this Complaint.

280. Plaintiff's right to be free from cruel and unusaul punishment under
the Bighth Amendment to the United States Constitution was clearly established

as of February 16, 2017.
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281. While acting under color of Federal Law, the actions of Defendants
Sheesley, Chappell, Finck, and Savidge in using physical force against the
‘Plaintiff without need or provocation, were done maliciously and sadistically
and Constituted cruel and unusual punishment in violation of the £ighth Amendment
of the United States Constitution,

282. Due to the Defendant’ acts and omissions, Plaintiff suffered serious

physical and emotional injury and pain, and is therefore entitled to relief.

Count [II

Plaintiff Jeremy Mack vs. Defendants Sheesley,

vttul fh, We 7] =)
Chappel es aC kK, St ava ans Bad ee and Moyer

Eighth Amendment Violation, pursuant to BIVENS. v.
SIX UNKNOWN NAMED AGENTS OF THE FEDERAL BUREAU OF NARCOTICS,
403 U.5. 388 (1971),
for terrorizing Plaintiff from February 16, 2017 to May 25, 2017

 

283. Plaintiff incorporates by reference the allegations in the proceding
paragraphs of this Complaint.

284. Plaintiff's right to be free from cruel and unusual punishment under
the fighth Amendment to the United States Constitution was clearly established
as of February 16, 2017.

285. Defendants' actions directed towards Plaintiff were unnecessary ,
wanton, dehumanizing and cruel, and were maliciously and sadistically motivated
to cause harm. ,

286. Defendants, acting under color of Federal Law, deprived Plaintiff of
his Constitutional right to be free from cruel and unusual punishmnet.

287. Defendants Sheesley, Chappell, Fick, Sullivan, Beaver, and Moyer

violated Plaintiff's Eighth Amendment rights by their conduct, as described above,

288. Due to the Defendants' acts and omissions, Plaintiff suffered serious

emotional and psychological pain and injury, and is therefore entitled to relief.
Count IV

Plaintiff Jeremy Mack vs. Defendants Sheesley, Sullivan and Hackenburg

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First Amendment Violation, pursuant to BIVENS Ve
SIX UNKNOWN NAMED AGENTS OF THE FEDERAL BUREAU OF NARCOTICS,
403 U.S. 388 (1971),

for retaliating against Plaintiff for redress of Grievances

 

289. Plaintiff incorporates by reference the allegations in the preceding
paragraphs of this Complaint.

290. Plaintiff's right under the First Amendment to the United States
Constitution to be free from retaliation for redress of grievances was clearly
established as of February 16, 2017.

291. Defendants, acting under color of Federal Law, deprived Plaintiff of
his right to be free from retaliation for seeking redress of grievances.

292. Defendants Sheesley, Sullivan, and Hackenburg violated Plaintiff's
First Amendment right by their conduct, as described above.

293. Due to the Defendants' acts, Plaintiff suffered serious emotional and

psychological pain and injury, and is therefore entitled to relief. ,
Count ¥

Plaintiff Jeremy Mack vs. Defendants BOP, Kane, Norwood,
Carvajal, &bbert, Jusino, Butler, Kazuba, Rhodes,

Taggart, Konkle, Doe, Beachel and Kemmerer
Eighth Amendment Violation

294. Plaintiff incorporates by reference as if fully set forth herein
the allegations contained in this Complaint,

295, Plaintiff‘a right to be free from cruel and unusual punishment
under the Eighth Amendment to the United States Constitution. This means
that prison officials must protect prisoners from excessive risks of
substantial harm,

296. USP Lewisburg Officials and Officers engage in a pattern of abusing
and assaulting inmates in "blind-spots" of the prison while they are in
restraints, subjecting inmates to an environment of fear, systemic harassment,
intimidation, retaliation for seeking redress to grievances, retaliatory
cell searches, and the unjustified confiscation and/or damaging of inmates

legal materials and personal property. Such threat creates a substantial

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risk to inmates’ health and safety, and Constitutional protections. The
Plaintiff has been subjected to these Constitutional Violations.

297. Because USP Lewisburg Officials and Officers maintains a systemic
corrupt culture of staff cover-ups of inmate abuse, disregard excessive risk
to inmates' health and safety, and fail to respond appropriately in the face
of awareness of the above described unconstitutional patterns, practices,
or policies, Defendants have failed to protect Plaintiff from the pervasive
abuse, brutalization, and Constitutional misconduct of their colleagues.

298. Defendant the BOP is responsible for inmate safety at all USP
institutions, including USP Lewisburg. As such, the BOP is responsible for
ensuring that the conditions of confinement in its facilities do not violate
the Constitution.

299. Defendants Kane, Norwood, Carvajal, Ebbert, Jusino, Butler, and
kazuba are responsible for creating and implementing policy at the BOP is
institutions under their control, including USP Lewisburg. As such, each
Defendant has a responsibility to ensure that the conditions of confinement
at USP Lewisburg do not violate the Constitution.

300. Defendants Kane, Norwood, Carvajal, Ebbert, Jusino, Butler, and
Kazuba were, at all times relevant to this complaint, aware of the conditions
of confinement at USP Lewisburg by virtue of both the requirements of their
positions and the inmate grievance process.

301. The inmate grievance policy requires that grievances be reviewed
first by Ebbert, and if the grievance is denied, the inmate must then grieve
to Norwood and Carvajal, and finally to Kane.

302. Upon information and belief, hundreds of grievances have been filed
since the inception of the 5MU program complaining of these conditions of
confinement at USP Lewisburg, including Plaintiff's own grievances.

303. Defendant Ebbert, as Warden of USP Lewisburg, is informed as a
matter of course of any alleged staff misconduct and staff abuse of inmates.

304. Defendants Ebbert, Jusino, Butler, Xazuba, Rhodes, Taggart, Konkle,
Doe, Beachel, and Kemmerer are also aware of the day to day problems and
incidents related to inmates’ placement and conditions of confinement at
USP Lewisburg by virtue of their responsibility for inmate safety and
institutional security.

305. In overseeing conditions of confinement and participating in inmate
placement decisions, Defendants Ebbert, Jusino, Butler, Kazuba, Rhodes,
Taggart, Konkle, Doe, Beachel, and Kemmerer are required to consider inmates'

special needs, and their safety and health risk of Constitutional injury.
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306. Defendants BOP, Kane, Norwood, Carvajal, Ebbert, Jusino, Butler,
and Kazuba are responsible for creating and implementing policies and
customary course of action at USP Lewisburg, under which the above described
unconstitutional practices occurred.

307. Defendants, acting under color of Federal Law, engaged in the
unconstitutional patters, practices, or policies of (1) maintaining a
pervasive culture of inmate abuse an staff-on-inmate assaults, (2) assaulting
inmates in "blind~spot" areas of the prison while they are in restraints,

(3) systemic harassment and intimidation of inmates, (4) creating an
atmosphere of fear foe inmates, (5) retaliating against inmates for seeking
redress of their grievances, orally and in writing, (6) conducting retaliatory
cell searches - "shake-downs" ~ of inmate's cells, (7) unjustified
confiscation and/or damaging of inmate's legal materials and personal
property, and (8) maintaining a corrupt culture of staff cover-ups and abuse,
Furthermore, Defendants, again acting under color of Federal Law, engaged

in the unconstitutional patterns, practices, or policies of disregarding
excessive risk to inmates' health and safety, and failing to respond
appropriately in the face of awareness of the above described unconstitutional
patterns, practices, or policies. Thus, Defendants have deprived Plaintiff

of his right to be free from cruel and unusual punishment in violation of

the Eighth Amendment to the United States Constitution.

308. Defendants’ acts and omissions have caused serious injury to
Plaintiff, and therefore the Plaintiff is entitled to relief.

Count VI

Plaintiff Jeremy Mack vs. Defendants BOP, Kane, Norwood,
Carvajal, Ebbert, Jusino, Butler, Kazuba, Rhodes,

Taggart, Konkle, Doe, Beachel and Kemmerer
Bighth Amendment Viloation

309. Plaintiff incorporates by reference, as if fully set forth herein,

the allegations contained in this Complaint.
310. Plaintiff has a right to be free from cruel and unusual punishment
under the Eighth Amendment to the United States Constitution. This means
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that prison Officials must’ provide prisoners with humane conditions of confinement.

311. Defendants, acting under color of Federal Law, engaged in the
unconstitutional patters, practices, or policies of (1) maintaining a pervasive
culture of inmate abuse and staff-on-inmate assaults, (2) assaulting inmates in
"hlind-spot" areas of the prison while they are in restraints, (3) systemic harassment
and intimidation of inmates, (4) creating an atmosphere of fear for inmates, (5)
retaliating against inmates for seeking redress of their grievances, orally and in
writing, (6) conducting retaliatory cell searches -— "shake-downs" -— of inmate's cells,
(7) unjustified confiscation and/or damage of inmate's legal materials and personal
property, and (8) maintaining a corrupt culture of staff cover-ups and abuse.
Furthermore, Defendants, again acting under color of Federal Law, engaged in the
unconstitutional patterns, practices, or policies of disregarding excessive risks
to inmates’ health and safety, and failing to respond appropriately in the face of
awareness of the above described unconstitutional patterns, practices, or policies.
Thus, Defendants have deprived Plaintiff his Constitutional right to be provided
with humane Conditions of Confinement, pursuant to the "Totality of Conditions"
theory, in violation of the Eighth Amendment to the United States Constitution.

312. Defendants' acts and omissions have caused serious injury to Plaintiff,

and therefore the Plaintiff is entitled to relief.

G-Block Officers Interfered With

Plaintiff's Access To The Courts

313. Plaintiff incorporates paragraphs 1 through 312 in the preceding paragraphs
of this Complaint as though they were stated fully herein.

314. when the United States Supreme Court denied Plaintiff's request to review
his case his Appellate Attorney, Donald J. Malarcik, informed him that his deadline
for filing his Habeas Petition, pursuant to 28 U.S.C. Section 2255 was "no later
than March 4, 2017.

315. Acting Pro Se, Plaintiff prepared a meritorious Habeas Petition pursuant
to 28 U.5.C. Section 2255, challenging his criminal conviction on the grounds of
Prosecutorial Misconduct and Ineffective Assistance of Counsel, in attempt to have
his conviction set aside,

316. By the end of January, 2017, Plaintiff had his 2255 Petition prepared
to be filed to meet his March 4, 2017 court deadline.

317. On or about February 14, 2017, Plaintiff received his $19.60 order of
postage stamps from the prison commissary that he needed to be able to mail his 2255

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Petition to the courts ahead of his court deadline.

318. When Plaintiff received his order of postage stamps from commissary he
placed his prepared 2255 Petition and Exhibits within an extra-large manila envelope
addressed to : Office of the Clerk, U.5. District Court, Northern District of Ohio,
2 South Main Street, Akron, Ohio 44308, with the proper amount of postage, and
properly marked "LEGAL MAIL" on the front of the envelope, so that it was prepared
to be submitted to a Unit Team staff member to be mailed.

319. However, as described above, on February 16, 2017, G-Block Officers
Sheesley, Finck, Chappell, and Savidge unjustifiably confiscated Plaintiff's prepared
2255 Petition, as well as other non-contraband legal materials and personal property
during a maliciously motivated "cell search."

320. Plaintiff placed many months of research and hard work into preparing
his 2255 Petition and Exhibits. Many of those Exhibits consisted of irreplaceable
documents. Without these legal materials Plaintiff was unable to meet his filing
deadline to the courts. Thus, Defendants Sheesley, Finck, Chappell, and Savidge have
prevented Plaintiff from challenging his criminal conviction on collateral review
by confiscating his prepared 2255 Petition and Exhibits and thereby causing him to

miss his filing deadline.

In Accordance With MONROE v. BEARD
Plaintiff Presents Facts To Demonstrate

Arguable Claims To Be Nonfrivolous

321. On or about 05/13/2013 Attorney Edward G. Bryan, Assistant Federal Public
Defender, was appointed to represent Plaintiff in his criminal case, Case Number:
1:13-cr—00278-SL-1.

322. On or avout 07/25/2013 Attorney Carolyn M, Kucharski, Assistant Federal
Public Defender, was appointed as Co-Counsel to represent Plaintiff in his criminal
case, Case Number: 1:13-cr-00278-SL-1.

323. Plaintiff informs his Attorneys, Mr. Bryan and Ms. Kucharski, that he
is innocent of his criminal charges and his intentions to exercise his right to
have a jury trial.

324. In preparing to defend Plaintiff at trial, his Attorneys conducted an
investigation into his case and discovered evidence that the FBI Agent who brought
the case against Plaintiff, Special Agent Kelly Liberti, may have tampered with
several witnesses in the case and may have coerced and/or coached the alleged

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"Victims" in an attempt to build a case against Plaintiff.

325. Among other things, this evidence includes:

l.

Monica Freedman, a witness in the case, informed Plaintiff's Attorneys
that Agent Liberti visited with Freedman while she was in Jail and
told her that she, Agent Liberti, could make her charges go away,

while seeking incriminatory statements against Plaintiff in her case.

7..Basedtonnthe fact thatrAgentsLibértiowaseabletto coerce twoiofithés

Plaintiff's unindicted co-conspirators to not only make false
accusations against the Plaintiff in his indictment, but was also
able to coerce them to make their false accusations to align in
corroporation, Plaintiff feared for how Agent Liberti may be able

to potentially influence the statements of the other, many, unindicted

co-conspirators and witnesses in the case.

While Plaintiff was a pre-trial detainee at Corrections Corporation
of America (CCA) called witnesses Kathrine Frioud and Sara Crabtree
seeking their assistance in obtaining sworn affidavits from all
witnesses and unindicted co-conspirators related to the case before
Agent Liberti would be able to intimidate, manipulate, and coerce
them to make false statements which incriminate the Plaintiff.

Frioud and Crabtree informed Plaintiff that they would print out
affidavits and take them to all of the witnesses and unindicted

co-conspirators in the case to get their notarized statements.

At that time CCA Officials were forwarding the recordings of all of
Plaintiff's jail telephone calls to Agent Liberti.

A few days later Agent Liberti was involved in the execution of a

search warrant, raid, of the residence Frioud and Crabtree was known
to be residing. At which time, Officers escorted Agent Liberti into
the residence to where Frioud and Crabtree were sitting, among other

occupants of the residence, and an Officer pointed at Frioud and

Crabtree and told Agent Liberti, "there's your girls."
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During the search of the residence Officers discovered about an ounce
of crack cocaine and about a half ounce of heroin in a safe located

in the closet of the master-—-bedroom.

Despite the fact that Frioud and Crabtree did not share the master-
bedroom, where the drugs were discovered, with the main occupant of
the residence, who was known to law enforcement as a drug dealer,

Frioud and Crabtree were the ones who was arrested and charged for

those drugs.

Although Agent Liberti had previously interviewed Frioud and Crabtree
about the case, Plaintiff's Attorneys learned that Agent Liberti
visited Frioud and Crabtree in jail after their arrest and pressured
them to make incriminating statements against Plaintiff in his case,
3. Plaintiff's Attorneys learned that while Frioud and Crabtree were
arrested and jailed out-of-town, on other drug charges unrelated
to Plaintiff's criminal case, agent Liberti traveled to where they
were jailed the day after their arrest and, again, pressured them

to make incriminating statements against Plaintiff in his case.

4. Plaintiff's Attorneys learned that Plaintiff's co-defendant, Ashley
M. Onysko, called Frioud and Crabtree from jail on the date of her
arrest and told Frioud and Crabtree that the allegations in the
indictment against Onysko and Plaintiff were false and "a bunch

of lies" (This recorded jail call was later obtained by Plaintiff's

Attorneys).

And that after being Interrogated by Agent Liberti, while facing
a mandatory minimum of 15 years to life prison sentence, Onysko
ended up providing Agent Liberti a statement in which she changed

her story to corroborate the allegations in the indictment.

It was later discovered that Onysko was offered a deal for her

"cooperation" with Agent Liberti in the case. Which resulted in

Onysko only having to serve less than three years in federal prison

for the same conduct as Plaintiff, while Plaintiff received a life
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sentence in prison without the possibility of parole.

3. Plaintiff's Attorneys learned that during a recorded jail call made

by Plaintiff to Charlie Blevins,‘ one of the key witnesses in the
case, Blevins told Plaintiff that Agent Liberti kept texting her

and would not leave her alone, and informed Plaintiff that Agent
Liberti was telling her that she was a "victim," and that she needed
to talk to Blevins. Blevins said that she responded to Agent
Liberti's text messeges by telling her that she did not know what
Agent Liberti was talking about and that she did not want to talk

to her. Plaintiff instructed Blevins to contact his Attorneys to
figure out what to do. (These recorded jail calls were forwarded

to Agent Liberti, and have been preserved as evidence in the case).

Plaintiff's Attorneys learned that before Blevins and his Attorneys
were able to get into contact with eachother to discuss the case,
that Agent Liberti had threatened to subpoena Blevins and pressured
her to end up meeting with Agent Liberti. And that Agent Liberti
had brought along a Victims Advocate to meet with Blevins to

persuade Blevins to sign up as a "victim" to receive "victims

benefits."

6. Plaintiff's Attorneys learned that, while in CCA, Plaintiff had

received a letter from Sharon Lawson, a witness in the case,
informing Plaintiff that she was in drug rehab with Sara Williams,

"victim" in the case, and that Williams had a Victims

an alleged
Advocate who would come to see her. Lawson also said in her letter
that when she asked Williams why a Victim's Advocate was coming

to see her that Williams told her that the Victim's Advocate was
telling her that she was a "victim." Plaintiff's Attorneys obtained

Lawson's letter to Plaintiff as evidence in the case.

7. Plaintiff's Attorneys contacted Blevins after she and Williams were

added as "victims" in Plaintiff's case and learned that Blevins

was unaware that Agent Liberti had charged Plaintiff with her as

a victim in his case,

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Blevins informed Plaintiff's Attorneys that she told Agent Liberti
that neither she nor any of the other alleged "victims" in the case
was not forced by Plaintiff to prostitute themselves and that the
other alleged "victims" lied about what they had alleged about the
Plaintiff.

Blevins also informed Plaintiff's Attorneys that while Agent Liberti
took notes during her interview with Blevins, Agent Liberti did

not take notes of her statements about anything she stated about
how she and none of the other alleged "victims" were never forced

to prostitute for Plaintiff.

After getting in contact with Blevins, Plaintiff's Attorneys and
Blevins began communicating back and forth regularly, discussing
matters in the case. Agent Liberti knew that Blevins, the most
important witness in the case whom she had charged Plaintiff with
as a victim in his case, was defending the Plaintiff's innocence
in discussions with his Attorneys, thereby jeopardizing Agent
Liberti's case. Agent Liberti knew about these things because
Plaintiff kept his family informed of these things through their
telephone conversations which Agent Liberti was receiving the

recordings of,

8. Plaintiff's Attorneys discovered that the Hotel room which Mary Bisco,

an alleged "victim" in Plaintiff's case, had been renting was raided
by local law enforcement officials who found drugs and drug
paraphernalia in the Hotel room. And that while one person who was
in the Hotel room with Bisko was arrested and charged with what

was found in Bisko's Hotel room, Agent Liberti may have been
contacted and stepped in to prevent Bisko from also being arrested

and charged to influence the outcome of Plaintiff's case.

9. Blevins was later caught up in a prostitution sting and arrested

in the Cincinnati, Ohio, area. Agent Liberti was notified of Blevins'
arrest and had Blevin's cell phone seized. Agent Liberti was aware
that Blevin's cell phone contained text message communications
between Blevins and Plaintiff's Attorneys related to the case.

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326. Aware that Plaintiff's Attorneys were preparing to present evidence at
Plaintiff's Jury Trial that would test their Chief Investigator's, Agent Liberti's,
credibility by presenting evidence of Agent Liberti's witness tampering to Plaintiff's
jury, as a tactical advantage the Government sought to have Plaintiff's Attorneys
removed from his case.

327. On or about 10/28/2013, with only a few days to go before Plaintiff's Jury
frial was set to commence, the Assistant United States Attorneys on Plaintiff's case,
Bridget M. Brennan and Carol M. Skutnik, advised the Court that the Government was
moving to disqualify Plaintiff's Attorneys from representing Plaintiff in his case.

328. On 11/02/2013 the Government filed a motion to Disqualify Plaintiff's
Attorneys for "Conflict of Interest," claiming that Plaintiff's Attorneys may be
charged for Obstruction of Justice in Plaintiff's case. In their motion, the Government
presented excerpts of text messages and e-mails extracted from Blevins cell phone
which Agent Liberti seized from Blevins when she was arrested, and claimed that
Plaintiff's Attorneys violated the Court's no-contact order, of which the Courts
ordered Plaintiff to not have contact with the witnesses in his case.

329, The Government argued that Plaintiff's Attorneys violated the no-contact
order by e-mailing Blevins a letter from Plaintiff and a photo of him that Blevins
requested Plaintiff's Attorneys send her.

330. On 11/04/2013 Plaintiff's Attorneys filed to the Courts a Response in
Opposition to the Government's motion to Disqualify Plaintiff's Attorneys. In their
motion, the Plaintiff's Attorneys pointed out the facts that the Plaintiff's letter,
which the Plaintiff's Attorneys e-mailed to Blevins, was a copy of a letter that
Plaintiff wrote to Blevins and mailed to her prior to Blevins being made a "victim"
in Plaintiff's case, which was intercepted by mail room staff at CCA, forwarded to
the Government, and disclosed of to Plaintiff's Attorneys within the Government's
Discovery, and that it was not a letter Plaintiff had given to his Attorneys to
circumvent the Court's no-contact order, as the Government had claimed.

331, Plaintiff's Attorneys argued that the letter and photo of Plaintiff was
provided to them by the Government as evidence in the case and that they owed the
Plaintiff their duty of due diligence in the case, which includes their responsibility
to interview all witnesses and alleged victims in their case and to review all evidence
in the case with the witnesses and alleged victims.

332. On 11/04/2013 through 11/05/2013 the Court held a two-day hearing inquiry
into the Government's motion to Disqualify Plaintiff's Attorneys to determine whether
or not an actual Conflict of Interest exist in the case. During the two-day hearing

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Plaintiff's Attorneys accused the Government of attempting to Manufacture a Conflict
of Interest in order to have them removed from Plaintiff's case, and the Government
of repeatedly threatening Plaintiff's Attorneys with charges of Obstruction of Justice
in open court and in the Judge's chambers, When the two-day hearing concluded the
Court took the matter under advisement and decided to issue a ruling at a later date.
333. On 11/06/2013 Plaintiff's Attorney's Boss, Dennis G. Terez, the head of
the Federal Public Defenders Office, filed a motion for Office of the Federal Public
Defenders to Withdraw as Attorneys for Plaintiff.
334. On 11/07/2013 the Court held a hearing on the Motion to Withdraw, and granted
the Federal Public Defenders Office's Motion to Withdraw from the case.
335. Attorney Bryan informed Plaintiff that his Boss, Terez, decided to have
him and Kucharski removed from the case because the Government kept calling Plaintiff's
Attorneys threatening them with Obstruction of Justice charges and that they told
his Boss that their office would not pursue Obstruction charges if he removed them
from Plaintiff's case. Attorney Bryan further offered to provide Plaintiff an affidavit

stating these facts for Plaintiff's appeal of his case.

336. When Attorneys Bryan and Kucharski were removed from
Plaintiff's case, the Courts appointed Attorneys Lawrence J. Whitney

as Lead Counsel and Nathan A. Ray as co-counsel to represent Plaintiff in his case.
337. Plaintiff informed Attorney Whitney as to how the Government repeatedly
threatened his former Attorneys with Obstruction charges to intentionally have them
removed from his case, and requested that Whitney file a Motion of his behalf to
have the Government's Attorneys removed from his case for Prosecutorial Misconduct.
338. Whitney refused to file the motion and told Plaintiff that he would have

to raise grounds of Prosecutorial Misconduct on appeal if he were to get convicted.
Prosecutorial Misconduct

339. The Government's Attorneys in the case were aware that Plaintiff's Attorneys
were gearing up to present a defense at Plaintiff's trial that would present evidence
of Agent Liberti's witness tampering and Official Misconduct to the Jury to contest
the credibility of Agent Liberti's case.

340. As a tactical move to prevent Plaintiff's Attorneys from presenting a
defense at trial which had the potential to expose their case being built upon Agent
Liberti's witness tampering and misconduct, the Government's Attorneys Manufactured
a "Conflict of Interest" to attempt to have Plaintiff's Attorneys removed from the
case.

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341. The Government's Attorneys knew that their claims that a Conflict of
Interest existed with Plaintiff's Attorneys was Frivolous, based on the facts that
they knew that the letter and photo Plaintiff's Attorneys had shared with Blevins
was evidence in the case, and that they knew that the Plaintiff had not, in fact,
directed his Attorneys to provide a letter to Blevins in order to circumvent the
Courts no-contact order,

342. And when Plaintiff's Attorneys stood firmly opposed to, challenging, the
Government Attorney's allegations that an actual "Conflict of Interest" existed
between them and the case, the Government's Attorneys repeatedly threatened
Plaintiff's Attorneys with Obstruction of Justice charges.

343. While the Government's Attorneys may of had a right to place Plaintiff's
Attorneys on notice that they may pursue Obstruction charges, the Government's
Attorneys in the case misconducted themselves in intimidating Plaintiff's Attorneys
and abusing their authority by repeatedly threatening Plaintiff's Attorneys with
Obstruction of Justice charges. The Government's Attorneys crossed the line between
placing Plaintiff's Attorneys on notice that they may be charged by repeatedly
threatening them with Obstruction charges.

344, Plaintiff's Trial Attorneys, Whitney and Ray, did not pursue the same trial
strategy, as his former Attorneys, of vigorously exposing Agent Liberti's unlawful
misconduct and attacking her credibility in the case that she brought against
Plaintiff, as Plaintiff's former Attorneys were mounting Plaintiff's defense,
preparing to do,

345. Accompanying Plaintiff's Section 2255 Petition was a request for an
Evidentiary Hearing, for the Courts to develop facts outside the record, relating
to Plaintiff's claims of Prosecutorial Misconduct, which, if true, would of entitled

Plaintiff to Habeas relief,

CAUSE OF ACTION
Count VII

Plaintiff Jeremy Mack vs. Defendants Sheesiley,

Finck, Chappell and Savidge

Fifth Amendment Violation

346, Plaintiff incorporates by reference the allegations in the preceding

paragraphs of this Complaint.
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347, Plaintiff's right under the Fifth Amendment of the United States Constitution
to Due Process in connection with a deprivation of Access to the Courts was clearly
established as of February 16, 2017.

348. Defendants Sheesley, Finck, Chappell, and Savidge violated plaintiff's Fifth
Amendment rights by depriving him of his Due Process right to file a meritorious Habeas
Petition and request to the Courts for an Evidentiary Hearing by confiscating his
legal materials on February 16, 2017 without any penological purpose.

349. Defendants Sheesley, Finck, Chappell, and Savidge caused Plaintiff to lose the
oppertunity to file "nonfrivolous" claims and to request an Evidentiary Hearing from
the Courts and to be forever barred from pursuing his Federal Post Conviction remedy.

350. Defendants Sheesley, Finck, Chappell, and Savidge deprived Plaintiff of his
right to file a meritorious Habeas Petition and Request for an Evidentiary Hearing
to the Courts. This deprivation of attempting to have his conviction set aside caused
Plaintiff severe emotional distress.

351. There is no other relief which Plaintiff can be compensated by Defendants
for his lost Claims and Post conviction remedy, other than damages.

352, As a direct and proximate result of the said acts of Defendants, Plaintiff
suffered, and continues to suffer the injuries and damages described above, and is

therefore entitled to relief.
Unlawful Censorship of Mail

353. In order to foster and maintain the corrupt culture of inmate abuse ans staff
cover-ups at USP Lewisburg, Defendants engage in a pattern, practice or policy of
censoring inmate's non-legal mail, if the inmate complains about inmate abuse, staff
misconduct, or their conditions of confinement, and interfering with those intended
communications,

354. Pursuant to policy and practice all SMU inmate's outgoing mail is read by
staff before being processed out of the prison.

355. Usually all mail is read by the Housing Unit's evening shift Officers before
being processed out of the Housing Unit.

366. Because of this, USP Lewisburg inmates are not permitted to seal-up their
outgoing non-legal mail.

367. SIS staff engage in a pattern, practice or policy of maintaining a "mail
monitoring" list of inmates whose incoming and outgoing non-legal mail is suppose
to be forwarded to SIS by Unit staff and mailroom staff before being processed out
of the prison or to the inmate recipient. SIS staff ensures that their "mail monitoring “

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list is accessible to all Housing Unit and mailroom staff who handle inmate mail.

368. It is the duty of all staff who handle inmate mail to forward all incoming
and outgoing non-legal mail of the inmates who are listed on SIS's "mail monitoring"
list to SIS.

369. Under BOP policy, only the Warden is permitted to authorize the targeted
censorship of an inmate's mail. And even then, according to policy, the Warden must
conduct periodic reviews of the inmates' mail monitoring status and find just cause
in order to authorize the inmate's continued placement on mail monitoring status.

370. SIS conducts and oversees the "mail monitoring" of SMU inmates.

371. At USP Lewisburg, however, SIS staff circumvent BOP's policy by placing
inmates on "mail monitoring" status without the Wardens' authorization or oversight.
In doing so, SIS is effectively able to side-step their required duty to maintain
records of all inmates whose mail that they have been responsible for. Allowing SIS
staff to target inmate's mail, whom are known to complain and seek redress of
grievances for inmate abuse, staff misconduct, and conditions of confinement, under
the radar without any repercussion.

372, Furthermore, SIS fails to maintain records of all revised "mail monitoring"
lists ‘which are accessible to Housing Unit and mailroom staff who handle inmate mail.
373. In addition, no record-logs were being kept by Housing Unit and mailroom

staff to record what mail was being forwarded to SIS staff.

374. It is the practice and custom for the Housing Unit Officers, who reads inmate
outgoing mail, to forward all mail with any “questionable” content to SIS for their
review. This includes, but is not limited to, allegations of staff misconduct, inmate
abuse, and complaints about unconstitutional conditions of confinement at USP Lewisburg

375. Under these circumstances, SMU inmate's intended communications are frequently
interfered with for no legitimate reason, but for the purpose to suppress inmates‘
expressed complaints or grievances.

376. Defendants are aware of the unlawful censorship of inmates mail, as described
above.

377. Inmates at USP Lewisburg were without any meaningful oversight and have no
process by which to challenge the unlawful censorship of inmate's mail. This
constitutional misconduct exist wholly outside of BOP Policy and Federal Regulations.

378. Upon information and belief, Defendants are involved and/or are aware of
the unlawful censorship of inmate's mail patterns, practices, policies, know the risks
of harm posed by these practices,, and fail to make any changes to these policies
and practices at USP Lewisburg to abate the risks of harm.

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USP Lewisburg Staff's Unlawful Censorship
of Mr. Mack's Mail While Housed at the SMU

379, Within the first couple of months after Plaintiffs' arrival to the SMU it
had become clear to him that staff were routinely throwing away his outgoing and
incoming mail.

380. It all began when Plaintiff started filing Freedom of Information Act and
Privacy Act (FOIA/PA) requests to the BOP's Central Office, which were forwarded to
USP Lewisburg Officials to respond to, seeking records related to USP Lewisburg
Officials unlawful use of restraints on inmates, as well as the Government e-mail
addresses of the Warden, Unit Manager, and other USP Lewisburg staff. And after he
mailed out an "EMERGENCY GRIEVANCE," as "LEGAL MAIL," to the BOP's Northeastern
Regional Director complaining about USP Lewisburg staff forcing him to cell-up with
hostile cellimates, which was causing him to suffer homicidal thoughts due to his fear
of being attacked and killed by a cellmate, within his first month in the SMU.

381. Upon receiving Plaintiff's "EMERGENCY GRIEVANCE," the Regional Director's
Office contacted USP Lewisburg Officials and informed them about Plaintiff's complaints
to the Regional Director, which prompted Dr. Eigenbrode of psychology services to
conduct a follow-up with Plaintiff,

382. About two weeks later Plaintiff mailed out a letter to his sister and a letter
to one of his churches Prison Ministry's pen-pal friends, whom he had been
corresponding with regularly, and asked them both to scan and e-mail, to the Warden
at USP Lewisburg, the letter which he had enclosed in with their letters.

383. Within those letters that Plaintiff had asked his sister and Prison Ministry
pen~pal friend to e-mail to the Warden, he complained about being forced to cell with
hostile cellmates, and staff's refusal to move him although he had informed Unit Staff
on multiple occasions that he and his cellmate was not getting along and that someone
was going to get seriously hurt if staff do not separate them.

384. About a month, or so, later Plaintiff discovered that neither his sister
nor his Prison Ministry pen-pal friend never received his letters to them and the
enclosed letters to the Warden, complaining.

385. Sometime around his second month in the SMU Plaintiff had submitted to staff,
over the span of a few days, about a total of ten letters, to be mailed out to family
members, friends, and Prisoners' Advocacy Organizations complaining about his abuse
and unconstitutional conditions of confinement at USP Lewisburg.

386. Plaintiff did not receive any response back from any of those ten, or so,
leters. And as time went on he discovered that his family and friends never did receive

those letters from him.
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387. Plaintiff would usually discover that his family members and
friends were not receiving his letters when he would receive their
letters of concern, wanting to know if was OK and why they havevhot
heard from him,

388. Over the course of the next year, or so, Plaintiff's family
members and friends had only received a few of the letters, out of
the several dozen, or so, he had written to them and submitted to staff.

389. In nearly all of Plaintiff's letters, which he had submitted
to staff to be mailed out to family members, friends, and elsewhere,
he raised the issues of his abuse, his unconstitutional conditions ~—
of confinement, and had sought their help and support to deal with
it.

390. Of all the letters which Plaintiff submitted to staff to be
mailed out to his family members and friends, the only few letters
which were actually processed out of the prison and received were the
letters which Plaintiff had refrained from discussing anything about
his abuse or his conditions of confinement.

391. Also, on several occasions Plaintiff received letters from
family members and friends referencing letters that they had written
and sent to him , which he never received.

392. Staff's unlawful censorship of Plaintiff's outgoing and
incoming mail had significantly impacted his relationship and bond
with his children, family members, and friends.

393. Plaintiff had come to understand that the only way that he
might get a letter processed out of the prison to be able to let his
love ones know that he was thinking about them, and that he loves and
misses them, was to not mention anything about his conditions of
confinement at USP Lewisburg.

394. Plaintiff was informed by multiple staff that he was, in fact,
on SIS's "mail monitoring" list and that all his mail was going through
sis. .
395. In attempt to figure out if the prison's Administration was,
in fact, aware that SIS had targeted his mail for censorship, on or
about July 21, 2016, Plaintiff sent a FOIA/PA request to the BOP's
FOIA/PA Section seeking a copy of all records related to the targeted
censorship of his outgoing and incoming non-privileged/legal mail by
staff at USP Lewisburg.

396. In response to Plaintiff's July 21, 2016, FOIA/PA request, the BOP said that
no records responsive to his request were located.

397. To be sure that there was not any records responsive to Plaintiff's July 21,
2016, FOIA/PA request he appealed the BOP's response to the Director of the Office
of Information Policy (OIP) to have the BOP conduct a thorough search for any records
responsive to his request. In response to Plaintiff's Appeal, the BOP further denied
that there are any records responsive to his request, with respect to the targeted
censorship of Plaintiff's mail.

398. Plaintiff had been hearing from inmates all around him, who had also been
complaining, about others having discovered that their family members and friends were
not receiving all of their mail as well, while they have been in the SMU.

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399. In August 2016 Plaintiff began mailing all of his letters to LPP, within large
manila envelopes marked as "LEGAL MAIL" to have a copy of his letters maintained on
file at LPP for future reference. LPP would send him back the original along with one
copy for him to personally retain.

400. LPP would mail Plaintiff his original letters along with his requested copy,
and would inform him that they placed copies on file there. Plaintiff has a personal
file that LPP retains for him. |

401. Plaintiff had started to submit all of his legal mail to his Unit Counselor,
Reese, who made sure that his "LEGAL MAIL" was processed accordingly.

402. On August 28, 2016, at around 8:40 P.M., Plaintiff submitted nine (9) letters
to his range Officer, M. Delmonico, during his rounds, to be mailed out.

403. On August 29, 2016, at around 8:30 P.M., Plaintiff submitted eight (8) letters
to his range Officer, G. Seagraves, during his rounds, to be mailed out.

404. Minutes before he submitted his letters to Officers Delmonico on August 28th
and Seagraves on August 29th Plaintiff had his cellmate, Peter A. Karl, read each letter
and then sign and date the upper left-hand corner of a copy of each of those letters,
for future reference.

405. Mr. Karl also provided Plaintiff with a statement, signed under the penalty
of perjury, identifying the above mentioned letters and stating that he witnessed
Plaintiff submit those letters to Officers Delmonico and Seagraves, as described.

406. In addition, Plaintiff also wrote a statement, signed under the penalty of
perjury, similar to the statement which Mr. Karl provided Plaintiff, which also included
the addresses to those that his letters were addressed to which he submitted to Officers
Delmonico on August 28th and Seagraves on August 29th.

407, Plaintiff sent his and Mr. Karl's statements to LPP within a few days after
they were written, in order to have LPP record those on file at that time.

408. Sometime around the middle of September 2016, Plaintiff sent out a letter
to one of his Churches Prison Ministry's pen-pal friends, Joe Branson, and asked him
to call Plaintiff's mother, Brenda Mack, to find out whether she had received any of
the last three letters that he had submitted to staff to be mailed to her. Which
included, one of the nine letters that Plaintiff submitted to Officer Delmonico on
August 28, 2016.

409. Enclosed within Plaintiff's August 20, 2016, letter to his mother he also
sent a letter to his son - "Jamy," niece ~ "Allexis," and his uncle ~ "Uncle Tom,"
which were never received as well.

410. Late September, 2016, Plaintiff received a letter back from Mr. Branson
informing Plaintiff that he called Mrs. Mack, per his request, and that she told him

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that she had not received any of Plaintiff's last three letters that he had submitted
to staff to be mailed to her, that which included his August 20, 2016, letter to her.

411. Mrs, Mack has since, personally, informed Plaintiff that she had not, in fact,
received the above mentioned letters.

412. Plaintiff was also informed by his son, Toby, and brothers, Jason and Johnny,
that they had, in fact, never received Plaintiff's letters which he wrote to them and
submitted to Officers Delmonico on August 28th and Seagraves on August 29th, 2016.

413. On or about October 12, 2016, Plaintiff submitted an Informal Resolution
Attempt complaining about the ongoing problems with his mail that he submits to staff
to be mailed out, not being received by those whom his letters are addressed to, and
also not receiving many letters which has been mailed to him by family members, his
children, and others since his arrival to the SMU. And, among other things, requesting
that the matter be thoroughly investigated.

414. After discovering that Plaintiff's family members had, in fact, not received
his letters, which he submitted to Officers Delmonico on August 28, 2016, and Seagraves
on August 29, 2016, to be mailed out to them, he wrote a "Preservation of Evidence
Request" letter to the Warden, Ebbert, informing him that his staff had been throwing
away Plaintiff's outgoing and incoming mail, placing the Warden on notice that he
planned to seek judicial review of the matter, and requested that particular cell-block
videotape footage of Plaintiff submitting his letters to Officers Delmonico and
Seagraves be preserved for judicial review.

415, Plaintiff sent his "Preservation of Evidence Request" to Mr. Sprout and asked
him to fax it to Warden Ebbert on his behalf. On October 6, 2016, Mr. Sprout Faxed
Plaintiff's request to Warden Ebbert along with a cover-letter that he included.

416. On or about September 26, 2016, Plaintiff sent a FOIA/PA Request to the Office
of the Inspector General's (OIG) Paralegal Specialist requesting a copy of his August
21, 2016, FOIA/PA Request of which he had submitted to Officer Delmonico on August
28, 2016, to be mailed. On October 26, 2016, the OIG responded to his September 26,
2016, FOIA/PA Request, informing him that they had not received his August 21, 2016,
FOIA/PA Request.

417. On or about September 27, 2016, Plaintiff sent a FOIA/PA Request to the BOP's
FOIA/PA Section for a copy of his "Complaint"/letter to the BOP's Bureau of Internal
Affairs, dated August 20, 2016, of which he submitted to Officer Delmonico on August
28, 2016, to be mailed out. On November 15, 2016 the BOP responded to Plaintiff's
September 27th FOIA/PA Request, informing him that they had not received his August
20, 2016, "Complaint"/letter to the BOP's Bureau of Internal Affairs.

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418. On or about September 27, 2016, Plaintiff sent a FOIA/PA Request to the OIG's
Paralegal Specialist for a copy of his August 21, 2016, letter to the OIG's
Investigative Division, of which he submitted to Officer Seagraves on August 29, 2016,
to be mailed. On October 26, 2016, the OIG responded to Plaintiff's FOIA/PA Request,
informing him that they had not received his August 21, 2016, letter to the OICG's
Iavestigative Division.

419, Plaintiff further discovered that other letters, which he submitted to Officer
Delmonico on August 28, 2016, and Seagraves on August 29, 2016, to be mailed out, were,
in fact, never received by those whom the letters were addressed to. And had not
received any response back from any of those 17 letters which he submitted to Officers
on August 28, 2016, and Seagraves on August 29, 2016.

420. In October 2016 Plaintiff received a letter from the Executive Director, Eric
Corson, of Prisoner Visitation and Support (PVS) Organization confirming that they
had, in fact, not received Plaintiff's August letter that he had Submitted to Officer
Seagraves on August 29, 2016, to be mailed.

421. Plaintiff received a letter from his Church friend Kathleen "Kathi" Magnuson,
confirming that she had, in fact, not received Plaintiff's August 20, 2016, letter,
of which Plaintiff submitted to Officer Seagraves on August 29, 2016, to be mailed.

422. As described above, in paragraphs 198 through 201 and 234 through 236, USB
Lewisburg staff unlawfully tampered with Plaintiff's mail while housed in G~Block
Housing Unit.

423. while Housed in G-Block Housing Unit, Plaintiff submitted several letters,
which were addressed to his family, friends, and others, to Lt. Beachel, to be mailed. -

424. Plaintiff later discovered that his mother never received Plaintiff's letters,
which he wrote to her for Mothers Day, and that his sons, brothers, and other family
members never received his letters which he had submitted to Lt. Beachel, to be mailed,
while he was housed on G-Block.

425. Plaintiff filed a couple of grievances to the Warden complaining about staff's
unlawful censorship of his mail.

426. Plaintiff complained verbally to Defendaats Jusing, Butler, and Kazuba about
staff's unlawful censorship of his mail, on multiple oceasions during their routine
round: in the SMU.

427. Upon information and belief, the Warden and his administcation knew that their
staff were unlawfully censoring SMU) inmate's mail rontinely through many inmare's
complaints of this through tne iamane Grievance procedure,

428. Despite Plainriff's and otner SM inmate's complaints of this to the Warden

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and his Administration, they permitted their staff to continue to unlawfully

censor Plaintiff's mail.
CAUSE OF ACTION
Count VIII

Plaintiff Jeremy Mack vs. Defendants Ebbert, Jusino, Butler,

Kazuba, Doe, Beachel, Seagraves and Delmonico
First Amendment Viclation

429, Plaintiff incorporates by reference the allegations in the preceding
paragraphs of this Complaint.

430. Plaintiff's right under the First Amendment to the United Sates
Constitution to Freedom of Speech was clearly established as of June 2015.

431. Defendants Beachel, Delmonico, Seagraves, and Doe violated Plaintiff's
First Amendment rights by depriving him of his right to Freedom of Speech by
unlawfully censoring Plaintiff's outgoing and incoming mail, without any
penological purpose. .

432, Defendants Eobert, Jusino, Butler, and Kazuba violated Plaintiff's First
Amendment right by depriving him his right to be free from unlawful censorship
of his mail by permitting Defendants Beachel, Delmonico, Seagraves, and Doe to
unlawfully censor Plaintiff's outgoing and incoming mail during his confinement
in the SMU.

433. As a direct and proximate result of the said acts and omissions,
Plaintiff suffered, and continues to suffer, the injuries and damages described,

above, and is therefore entitled to relief.
PRAYER FOR RELIEF

434. WHEREFORE, Plaintiff respectfully prays that this Court:

A. Declare that the acts and omissions described above violated

Plaintiff's rights under the Constitution and the laws of the
United States}

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B. Order Defendants to pay compensatory and punitive damages;
C. Order Defendants to pay reasonable Attorney fees and costs;
and
D. Grant other just and equitable relief that this Honorable Court

deems necessary.
PREVIOUS LAWSUITS

435. In 2015, acting Pro Se, Plaintiff brought a previous lawsuit before
Judge Christopher A. Boyko in the United States District Court for the Northern
District of Ohio, in Case Number 4:15-cvy-1732.

VERIFICATION

436. I, Jeremy Mack, declare and verify, pursuant to 28 U.S.C. B 1746, under
penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on January 30, 2019,

Respectfully Submitted,

: 4 Mack, od Se

BOP Register No. 30155-160

United States Penitentiary Coleman-1
P.O. Box 1033

Coleman, Florida 33521

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COVER LETTER

Office of the Clerk

United States District Court

for the Middle District of Pennsylvania.

William J, Nealson Federal Bldg. & U.S. Courthouse
235 North Washington Avenue

P.O. Box 1148

Scranton, PA. 18501-1148

RE: Pro Se Filing Of My Complaint, and Filing Fees
Dear Office of the Clerk:

Greetings and good day! I have enclosed, with this, my 56-page Complaint, to be
filed with the Courts, along with two additional copies. Please return a file-
Stamped copy to me. I have also enclosed a "NOTIFICATION OF DATE FILED" Form, in

accordance with Houston v. Lack.

{ am paying the entire $350. Filing Fee, to have my Complaint filed with tne Courts.
I have just begun the process of having the $350. released from my prison account
and forwarded to your Office, in a check payable to your Office. It usually takes

about two weeks for prison Officials to release funds from our prison account.

I will be mailing each Defendant in this matter a copy of my Complaint, two copies
of a Notice of a Lawsuit and Request to Waive Service of a Summons Form (AO 398),
a Waiver of the Service of Summons Form (AO 399), and a stamped envelope for the
Defendants to return by mail their "Waiver of Service of Summons." In compliance
with Fed.R.Civ.P. 4(d).

ff [ may be able to assist your Office in any way in this matter, please contact
me at the address set forth below and I will respond immediately to any inquiries.

Thank you very much for your time and assistance in this matter.

Respectfully submitted,

Jeremy sockat

0155-160, Pro Se
U.5.P. Coleman-1, P.O. Box 1033

Coleman, Florida 33521

  
  

 
  
  
   
   
   
 
 
 
  
   
     

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NOTIFICATION OF DATE FILED

I, Jermy Mack, declare pursuant to Title 28 U.S.C. 8 1746, that on:

Febroly 12,2014

I submitted my 56-page Complaint to the Courts, Jeremy Mack v. BOP et. al., to
USP Coleman-1l prison staff within a sealed mailing package, properly addressed
to the Courts, with the proper amount of prepaid U.S. First Class postage, for
forwarding to the Courts. Which is deemed filed at the time it was delivered
to prison authorities for forwarding to the Courts. Houston v. Lack, 101 L. Ed.
2d 245 (1988).

Respectfully Submitted,

Jerfmy Mack, Pro .

BOP Register No. 30155-160
United Sates Penitentiary Coleman-1
P.O. Box 1033
Coleman, Florida 33521

 
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